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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

FLORIDA RISING TOGETHER, FAITH                 Case No. 4:21-cv-201-MW-MJF
IN FLORIDA, UNIDOSUS, EQUAL
GROUND     EDUCATION     FUND,
HISPANIC FEDERATION, PODER
LATINX, HAITIAN NEIGHBORHOOD
CENTER SANT LA, and MI FAMILIA
VOTA EDUCATION FUND,

                          Plaintiffs,

      v.

LAUREL M. LEE, in her official capacity
as the Secretary of State of Florida, KIM
BARTON, in her official capacity as
Supervisor of Elections for ALACHUA
County, CHRIS MILTON, in his official
capacity as Supervisor of Elections for
BAKER County, MARK ANDERSEN, in
his official capacity as Supervisor of
Elections for BAY County, AMANDA
SEYFANG, in her official capacity as
Supervisor of Elections for BRADFORD
County, LORI SCOTT, in her official
capacity as Supervisor of Elections for
BREVARD County, JOE SCOTT, in his
official capacity as Supervisor of Elections
for BROWARD County, SHARON
CHASON, in her official capacity as
Supervisor of Elections for CALHOUN
County, PAUL A. STAMOULIS, in his
official capacity as Supervisor of Elections
for CHARLOTTE County, MAUREEN
“MO” BAIRD, in her official capacity as
Supervisor of Elections for CITRUS
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County, CHRIS H. CHAMBLESS, in his
official capacity as Supervisor of Elections
for CLAY County, JENNIFER J.
EDWARDS, in her official capacity as
Supervisor of Elections for COLLIER
County, TOMI S. BROWN, in her official
capacity as Supervisor of Elections for
COLUMBIA County, MARK NEGLEY,
in his official capacity as Supervisor of
Elections     for     DESOTO        County,
STARLET CANNON, in her official
capacity as Supervisor of Elections for
DIXIE County, MIKE HOGAN, in his
official capacity as Supervisor of Elections
for DUVAL County, DAVID H.
STAFFORD, in his official capacity as
Supervisor of Elections for ESCAMBIA
County, KAITI LENHART, in her official
capacity as Supervisor of Elections for
FLAGLER County, HEATHER RILEY,
in her official capacity as Supervisor of
Elections for FRANKLIN County,
SHIRLEY KNIGHT, in her official
capacity as Supervisor of Elections for
GADSDEN             County,        CONNIE
SANCHEZ, in her official capacity as
Supervisor of Elections for GILCHRIST
County, ALETRIS FARNAM, in her
official capacity as Supervisor of Elections
for GLADES County, JOHN HANLON,
in his official capacity as Supervisor of
Elections for GULF County, LAURA
HUTTO, in her official capacity as
Supervisor of Elections for HAMILTON
County, DIANE SMITH, in her official
capacity as Supervisor of Elections for
HARDEE County, BRENDA HOOTS, in
her official capacity as Supervisor of
Elections     for     HENDRY        County,
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SHIRLEY ANDERSON, in her official
capacity as Supervisor of Elections for
HERNANDO County, PENNY OGG, in
her official capacity as Supervisor of
Elections for HIGHLANDS County,
CRAIG LATIMER, in his official capacity
as    Supervisor      of   Elections     for
HILLSBOROUGH County, THERISA
MEADOWS, in her official capacity as
Supervisor of Elections for HOLMES
County, LESLIE R. SWAN, in her official
capacity as Supervisor of Elections for
INDIAN RIVER County, CAROL A.
DUNAWAY, in her official capacity as
Supervisor of Elections for JACKSON
County, MARTY BISHOP, in his official
capacity as Supervisor of Elections for
JEFFERSON County, TRAVIS HART, in
his official capacity as Supervisor of
Elections for LAFAYETTE County,
ALAN HAYS, in his official capacity as
Supervisor of Elections for LAKE County,
TOMMY DOYLE, in his official capacity
as Supervisor of Elections for LEE
County, MARK EARLEY, in his official
capacity as Supervisor of Elections for
LEON County, TAMMY JONES, in her
official capacity as Supervisor of Elections
for LEVY County, GRANT CONYERS,
in his official capacity as Supervisor of
Elections for LIBERTY County, HEATH
DRIGGERS, in his official capacity as
Supervisor of Elections for MADISON
County, MICHAEL BENNETT, in his
official capacity as Supervisor of Elections
for MANATEE County, WESLEY
WILCOX, in his official capacity as
Supervisor of Elections for MARION
County, VICKI DAVIS, in her official
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capacity as Supervisor of Elections for
MARTIN County, CHRISTINA WHITE,
in her official capacity as Supervisor of
Elections for MIAMI-DADE County,
JOYCE GRIFFIN, in her official capacity
as Supervisor of Elections for MONROE
County, JANET H. ADKINS, in her
official capacity as Supervisor of Elections
for NASSAU County, PAUL A. LUX, in
his official capacity as Supervisor of
Elections for OKALOOSA County,
MELISSA ARNOLD, in her official
capacity as Supervisor of Elections for
OKEECHOBEE              County,       BILL
COWLES, in his official capacity as
Supervisor of Elections for ORANGE
County, MARY JANE ARRINGTON, in
her official capacity as Supervisor of
Elections for OSCEOLA County,
WENDY LINK, in her official capacity as
Supervisor of Elections for PALM
BEACH County, BRIAN CORLEY, in his
official capacity as Supervisor of Elections
for PASCO County, JULIE MARCUS, in
her official capacity as Supervisor of
Elections for PINELLAS County, LORI
EDWARDS, in her official capacity as
Supervisor of Elections for POLK County,
CHARLES OVERTURF, in his official
capacity as Supervisor of Elections for
PUTNAM County, TAPPIE A.VILLANE,
in her official capacity as Supervisor of
Elections for SANTA ROSA County,
RON TURNER, in his official capacity as
Supervisor of Elections for SARASOTA
County, CHRISTOPHER ANDERSON,
in his official capacity as Supervisor of
Elections for SEMINOLE County,
VICKY OAKES, in her official capacity
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as Supervisor of Elections for ST. JOHNS
County, GERTRUDE WALKER, in her
official capacity as Supervisor of Elections
for ST. LUCIE County, WILLIAM
KEEN, in his official capacity as
Supervisor of Elections for SUMTER
County, JENNIFER M. KINSEY, in her
official capacity as Supervisor of Elections
for SUWANNEE County, DANA
SOUTHERLAND, in her official capacity
as Supervisor of Elections for TAYLOR
County, DEBORAH OSBORNE, in her
official capacity as Supervisor of Elections
for UNION County, LISA LEWIS, in her
official capacity as Supervisor of Elections
for VOLUSIA County, JOSEPH R.
MORGAN, in his official capacity as
Supervisor of Elections for WAKULLA
County, BOBBY BEASLEY, in his
official capacity as Supervisor of Elections
for WALTON County, and CAROL
FINCH RUDD, in her official capacity as
Supervisor        of     Elections       for
WASHINGTON County,


                          Defendants.

        OPENING EXPERT REPORT OF SHARON AUSTIN, PH.D.
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I.       INTRODUCTION

         1.      I have been retained as an expert in this case by counsel for Plaintiffs.

As part of my expert retention in this case, I have been asked to provide a historical

analysis of the state of Florida’s legislative responses to increased voter participation

by minority groups, and in particular, increased voter participation by Black and

Hispanic voters. 1

         2.      I am being compensated for my work on this report at an hourly rate of

$250/hour. No part of my compensation is dependent on the outcome of this case or

on the nature of the opinions that I provide.

II.      SUMMARY OF OPINIONS

         3.      In this expert report, I discuss the history of Florida’s laws governing

elections. My report demonstrates that progress by Florida’s Black and Hispanic

voters in the form of increased participation, increased utilization of new voting

methods, and election of preferred candidates has historically been met by backlash

against that progress by Florida’s legislature and governors. This “progress followed

by backlash” has been a pattern in Florida since the end of the Civil War, and

continues to this day with the passage of SB 90, several portions of which plaintiffs

in this case are challenging.



1
  In this report, I use the terms Black and African American interchangeably and I use the terms Hispanic and Latino
interchangeably.
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III.   QUALIFICATIONS

       4.       I am a Professor of Political Science at the University of Florida,

Gainesville, where I teach courses in American Government, Urban Politics, and

African American Politics. Prior to joining the faculty at the University of Florida, I

taught at the University of Louisville, the University of Michigan, and University of

Missouri at Columbia. Details about my professional qualifications and experience

are described below and in the copy of my curriculum vitae attached as Exhibit A.

       5.       I received a Ph.D. in political science from the University of Tennessee

at Knoxville in 1993.

       6.       I have authored or co-authored numerous articles that have been

published in peer-reviewed journals in the social sciences field, including multiple

articles analyzing minority voter participation. I have also published books and book

chapters on that subject. My curriculum vitae provides a list of all of my

publications.

       7.       Since 1992, my research and work has focused on various aspects of

American politics and public policy. These include American elections, with an

emphasis on mayoral elections, racial voting behavior, African American women’s

political behavior, barriers to African American political participation, Black and

white voting behavior in the South, rural political behavior, presidential politics,

Congressional politics, American civil rights, and political activism and

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participation in Florida. Since 1992, I have taught numerous courses, including

courses that emphasize African American politics, American politics, Black

women’s politics, urban politics, state and local politics, Asian American politics,

Latino politics and policy, and women of color and the law.

      8.     I have written numerous op-eds in newspapers, magazines, and on

CNN’s website. I have been cited as an expert on politics in newspapers including

the Los Angeles Times, New York Times, Washington Post, and USA Today. I am

the Senior Political Correspondent for the Today with Dr. Kaye syndicated radio

show (based in Baltimore) and have provided analysis regarding civil rights and

political topics on news shows in Australia, Canada, Great Britain, Korea, Pakistan,

Russia, and Singapore.

      9.     I have served on editorial boards and advisory committees in the field

of African American Studies, minority civil rights, politics, and voting. I have been

an invited speaker and won numerous awards in this area. I am also a member of the

editorial team of the American Political Science Review which was founded in 1903

and is the most prominent journal in the political science discipline. In 2023, I will

become the first African American editor of this prestigious journal. I am also the

editor of the Government and Politics in the South series of the University Press of

Florida and I am a former editor of the National Review of Black Politics.



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IV.   MATERIALS CONSIDERED

      10.    In preparing this report, I relied on my own knowledge and experience

as outlined above. In addition, I have reviewed and considered the materials listed

in Exhibit B. Exhibit B is intended to be a complete list, though I may not have

included literally every document or piece of information that I have considered in

forming my opinions presented in this report.

V.    METHODOLOGY AND SOURCES

      11.    In this report, I utilize the standard methodology that I and other

political scientists use when investigating the history of election laws. When

analyzing political decision-making, political scientists examine the circumstantial

evidence regarding the political, institutional, and social context in which a decision

is made, as well as direct evidence of the reasons asserted for the decision. We

examine relevant scholarly studies; newspaper coverage of events; reports of local,

state or federal governments; relevant court decisions, and statistical data. As seen

in the list of materials (Exhibit B) and citations in this report, I have examined a

large number of these sources.

VI.   HISTORICAL ANALYSIS OF MINORITY VOTER PARTICIPATION
      IN FLORIDA

      12.    The right to vote is a fundamental right in American society; yet,

African Americans and Latinos have been the targets of disenfranchisement and

dilution efforts throughout American history. The Voting Rights Act of 1965 ended
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overt barriers and resulted in significantly higher voter registration and turnout rates,

especially in predominantly Black Southern communities.

      13.    African Americans and Hispanics have made phenomenal economic

and political gains in Florida and nationwide over the past half-century. Their voter

turnout and registration rates reflect high levels of interest in voting and the political

process. Black voter turnout increased to a nationwide high of 68% in 2020 (U.S.

Elections Project 2020). Nationwide Hispanic turnout grew from 29% in 1986 to

52% in 2020. (U.S. Elections Project 2020). In 2020, approximately 2.5 million

Latinos were registered to vote in Florida – an increase of 500,000 votes since 2016.

(Noe Bustamante 2020). In 2020, an additional 215,000 Black voters registered in

Florida as compared with 2016, resulting in a total Black voter registration of 2.2

million. (Budiman 2020; Powers 2020).

      14.    This progress has been met, however, with resistance from white

legislators and governors, who have responded by passing legislation that makes

voting more difficult for Black and Hispanic voters. While these new laws are

couched as “reform” laws that supposedly address voter fraud, I see recent and

current changes in the law as part of a long tradition of purposeful efforts by

Florida’s governors and legislators to disenfranchise Black and Hispanic voters. As

I will discuss, the Florida legislature has a well-established history of making voting



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more difficult for Black and Hispanic voters and of citing purported fraud as a

pretext for passing laws intended to disenfranchise Black and Hispanic voters.

      15.    In particular, the legislatures of Florida, and     several other states

(especially southern states such as Georgia) have implemented a number of election

“reform” laws as racial voting demographics and practices have changed. In

particular, it appears that in Florida, when Blacks and Hispanics vote in increasing

numbers and begin to take advantage of voting mechanisms previously used by

whites, the Florida legislature and governor have responded by curtailing the ability

of Black and Hispanic voters to take advantage of them. The purported justification

for these restrictions is frequently to address “fraud,” which in the past has been

illusory. In other words, when Black and Hispanic voters utilize voting mechanisms

and procedures that increase their turnout the progress is met with backlash.

      16.    In this Report, I discuss the history of Black and Hispanic voter

disenfranchisement in Florida and efforts of the legislature to make voting law

changes after African Americans and Hispanics had record turnouts. I also describe

the high rates of early and mail voting in Florida counties with the largest Black and

Hispanic populations after state laws encouraged the same “no excuse” absentee

ballots, mail voting, and early voting they now seek to curtail. My analysis of

Florida’s legislative responses to increased Black and Hispanic voter participation

demonstrates that Florida has passed legislation intended to make it more difficult
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for Black and Hispanics to vote at all, as well as to vote early and by mail, and that

this was plainly the intended purpose of Florida’s most recent legislation, SB 90.

VII. POST-RECONSTRUCTION BLACK DISENFRANCHISEMENT

      17.    Efforts to disenfranchise people of color in Florida began during the

1800s. After the Civil War, Florida proposed a new constitution. A purpose of

Florida’s 1865 Constitution was to revoke its previous Ordinance of Succession so

that Florida could rejoin the United States. Despite the outcome of the Civil War,

the 1865 Constitution limited the voting franchise to “free white males.” Also in

1865, the Florida Legislature passed the Black Codes, a series of laws establishing

“a separate class of citizenship for Blacks, making them inferior to whites.” (Paulson

2013b).

      18.    Despite the restrictions mentioned in Florida’s 1865 Constitution,

Black citizens were able to make some progress. The 1865 Constitution never took

effect. On March 2, 1867, the United States Congress rejected it and declared that

Florida had no legal government. Instead, Congress conditioned rejoining the Union

on Florida’s adoption of the 13th, 14th and 15th Amendments — ending slavery and

protecting the citizenship and voting rights of newly freed slaves — and on the new

state constitution conforming with the U.S. Constitution. Florida was one of ten ex-

Confederate states that had previously rejected the 14th Amendment. (Wood 2016,

4). Congress also prohibited much of the traditional white power structure that

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prevented Blacks from registering to vote, disenfranchising them as punishment for

their involvement in the Civil War. Freed Black males, who comprised less than half

of Florida’s population, were allowed to vote during this time. (Shofner 1963).

      19.    The Congressional mandates, requiring, among other things, that

Florida allow Black males to register and vote, led to significant Black voter

participation. By the fall of 1867, the number of Black voters surpassed the number

of white voters. Out of the 26,582 registered voters statewide, 11,148 were white

and 15,434 were Black. (Shofner 1963, 359).

      20.    During the state’s 1868 Constitutional Convention, the legislature

drafted a new constitution that “kept Florida from becoming ‘niggerized’” by

diluting the Black vote so that the state legislature would remain predominantly

white. (Shofner 1963, 374). Smaller counties were given their own representatives

in the state Legislature, but larger counties, which were dominated by Blacks, were

given multiple representatives based on their population. With Black strength

concentrated in nine counties in the north-central part of the state, the arrangement

insured white control of the Legislature. The governor also was given authority to

appoint county officials, guaranteeing that whites would control the key jobs.

(Paulson 2013b).

      21.    For a short time after adoption of the 1868 Constitution, Blacks

managed to get elected to higher office in Florida. In 1870, Josiah Walls, a former
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slave and Union soldier from Alachua County, became Florida’s first Black member

of Congress, and 19 Blacks were elected to the 76-member Florida Legislature.

           22.      But progress was short-lived and Florida’s legacy of vote suppression

continued. Indeed, as I demonstrate throughout this Report, the pattern of progress

for Black voters followed by backlash from the Florida legislature and governor has

continued to this day. By 1876, Reconstruction was over, and white political

dominance was restored. Indeed, in 1876, Congressman Josiah Walls, Florida’s first

Black congressman, was unseated. 2 Florida adopted a new Constitution in 1885,

which was described as a “white supremacy document.” (Paulson 2013b). The 1885

Constitution and the laws passed by the Legislature thereafter erected multiple

barriers to Black voting, such as the white primary, grandfather clause, poll tax,

literacy test, ballot box law, long residency requirements and scores of other

obstacles. (Kousser 1974, 40; Paulson 2013b). Florida’s 1885 Constitution was in

effect until 1968.

           23.      Between the adoption of the 1885 Constitution and the passage of laws

by the white-dominated Florida Legislature, Florida essentially disenfranchised all

Black voters. The state permitted only whites to vote in primaries, denied access to

the ballot to anyone who couldn’t read and imposed lengthy residency requirements



2
    It was not until 1993, well over one hundred years later, that Florida would have another Black congressman.
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as a condition for voting. Florida also was the first state to adopt a $2 poll tax as a

requirement for voting. (Klas 2016). Turnout among Black males in 1888, before

the barriers went into effect, was 62 percent. (Paulson 2013a). Just four years later,

after the barriers were enacted, Black male turnout in Florida dropped to 11 percent.

(Paulson 2013a).

      24.    In 1915, the Legislature enacted a literacy test and a companion

grandfather clause. Although not implemented officially until 1915, “de facto

literacy tests” had been utilized in Florida since the late 1800s and had done a

particularly effective job of disenfranchising illiterate Black males (55% of whom

were illiterate in 1900). (Kousser 1974, 50). The grandfather clause, common

throughout the South, declared that any person who had a relative who voted prior

to a certain date did not have to take the literacy test. (Paulson 2013a). According to

the proposed Florida law, if you had a relative who was eligible to vote on Jan. 1,

1867, you were exempt from taking the test. Since no Black Floridian had voted

prior to that date, all Blacks had to pass the test. Blacks were frequently asked more

technical and legal questions than whites. When one Black applicant was asked what

“habeas corpus” meant, he responded: “Habeas corpus means this Black man ain’t

gonna register today.” (Paulson 2013a).

      25.    Even after courts and federal laws eliminated the white primary, other

suppression mechanisms like poll taxes and literacy tests could always be counted
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on to limit Black political participation. (Paulson 2013a). In the same vein, the

grandfather clause enabled voting by whites who would have lost the franchise had

they been Black, thereby maintaining high white voter turnout.

      26.    By 1940, as few as six percent of Black Floridians were registered to

vote. By 1947, the statewide Black voter registration rate increased to 16 percent.

(Klas 2016). Yet, few Black citizens were registered in most Florida counties before

the ratification of the Voting Rights Act (discussed below). The voter

disenfranchisement efforts that existed before the Voting Rights Act blatantly

deprived African Americans and Latinos of their suffrage rights. State legislatures,

including the Florida legislature, utilized vote dilution tactics in the years after the

law’s passage. Now, the reform term is used as a veiled attempt to disenfranchise

voters of color in Florida.

VIII. HISPANIC/LATINO DISENFRANCHISEMENT IN FLORIDA

      27.    Although Hispanics have played a prominent role in Florida politics

throughout the state’s history (for example, in 1822, Joseph Marion Hernandez was

the first Florida delegate to the U.S. Congress), the empowerment of Latinos is a

recent phenomenon. (Moreno and Austin 2015). Hispanics did not become a factor

in modern state politics until the 1980s. In 1980, only one Latino, Elvin Martinez,

served in the Florida legislature, representing the traditional Hispanic area of West

Tampa in the Florida House of Representatives. (Moreno and Austin 2015). In 1982,

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Roberto Casas and Ileana Ros were the first Cuban Americans to be elected to the

Florida legislature. (Moreno and Austin 2015). In 1999, Anthony Suarez became the

first Hispanic elected to represent the Orlando area in the Florida Legislature.

(Moreno and Austin 2015). In 2012, Darren Soto became Central Florida’s first

Hispanic State Senator. (Moreno and Austin 2015). In 1989, Ileana Ros-Lehtinen

was the first Latino elected to Congress in Florida since the election of Joseph

Marion Hernandez in 1822. Mel Martinez’s election to the U.S. Senate in the 2000

election is symbolic of the rapid political empowerment of Florida’s growing

Hispanic population. (Moreno and Austin 2015). Because of Hispanic political

influence, Florida is a major battleground state in presidential elections. Cuban

Americans in South Florida, the Puerto Rican population along the I-4 corridor, and

the growing Central and South American populations make the state’s Hispanics one

of the most influential Latino populations in the United States. (Moreno and Austin

2015). Both George W. Bush in 2000, and Barack Obama in 2008 and 2012, won

Florida’s electoral votes because of their margins of victory among Hispanic voters.

In fact, Florida’s Hispanic voters have more political clout than the larger and more

established Latino communities in California and Texas. (Moreno and Austin 2015).

      28.    Florida’s Latino citizens have also experienced voting discrimination

because many are classified as language minorities. In 1975, Congress added section

203 as an amendment to the Voting Rights Act to prohibit discrimination against
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“language minorities” (people of Spanish, Asian, Native American, and Alaskan

Native descent). (U.S. Department of Justice 2021a). The U.S. Census Bureau

defines certain areas as “covered jurisdictions” based on their voting age population,

racial/ethnic composition, and illiteracy rate. According to the Department of

Justice, “[section 203] covers those localities where there are more than 10,000 or

over 5 percent of the total voting age citizens in a single political subdivision (usually

a county, but a township or municipality in some states) who are members of a single

language minority group, have depressed literacy rates, and do not speak English

very well. Political subdivisions also may be covered through a separate

determination for Indian Reservations.” (U.S. Department of Justice 2021a). If a

county is subject to a minority language requirement under section 203, the

Supervisor of Elections must make voting materials and information available in the

minority’s language and provide assistance in the minority’s native language in all

elections. (U.S. Department of Justice 2021a). After the 2010 census, Broward,

Collier and Glades counties in Florida were no longer covered jurisdictions for

American Indian language, but the entire State of Florida (rather than individual

counties) became a newly covered jurisdiction for Spanish. (U.S. Department of

Justice 2021a). Since then, Florida has had to make statewide issued/produced voter

registration-voting materials in Spanish. (U.S. Department of Justice 2021a).



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      29.    Some of the discrimination endured by African Americans and

Hispanics has been regional. They were mostly excluded from elective offices in

Dade County (now known as Miami-Dade County) until the Meek v. Metropolitan

Dade County decision. This 1992 federal ruling nullified the usage of at-large

elections in the county.

      30.    Florida was the first state to adopt the runoff primary in 1901. At that

time, Blacks made up 44 percent of the population and there was a fear that a Black

candidate might win an election in a multi-candidate field. (Paulson 2013a). To

diminish that possibility, a second or runoff primary was instituted. If no candidate

received a majority of the vote in the first primary, the top two vote-getters would

compete in a runoff. (Glaser 2006). Even when Black candidates received the most

votes in the general election, they often lost runoff elections when competing against

a white candidate because Black and white voters voted largely on the basis of race.

(Meek v. Metropolitan Dade County 1992). White candidates benefitted from the

larger white population or turnout in these cities when only two candidates (one

white, one Black) were on the ballot. (Wright 2000). Recent studies find that Black

candidates choose not to run for southern political offices if runoff elections are

required because they do not believe they can win. (Keele et al. 2017).

      31.    The efforts to replace at-large elections with district elections began in

the 1980s. (Croucher 2002, 236). At-large elections require that minority candidates
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win citywide, rather than in particular districts. This requires additional funding and

name-recognition and that candidates win substantial support from white voters in

cities with histories of racially polarized voting. In predominantly white cities with

histories of racially polarized voting, white candidates are much more likely to win.

(Paulson 2013a).

      32.    Eventually, a 1992 class-action lawsuit filed by a group of African

American, Black ethnic, and Hispanic plaintiffs culminated in changes. Before the

1992 ruling, only one African American and one Latino had ever served on the Dade

County Commission at any one time. (Grenier and Castro 1999, 287). Both groups

were disadvantaged by at-large elections, but especially African Americans. By the

early 1990s, Hispanics and African Americans together constituted about 70 percent

of the population. (Warren and Moreno 2003, 289). Few minority candidates

amassed the funding to win countywide elections nor did they have the crossover

appeal that was sufficient for them to gain enough white and Hispanic votes to

secure victories. (Warren and Moreno 2003, 290).

      33.    In 1986, African American attorney and Miami commissioner Arthur

Teele Jr., filed a federal class-action lawsuit on behalf of minority voters in the

Miami-Dade area. These plaintiffs argued that the at-large election system violated

the Voting Rights Act because it diluted the votes of ethnic and racial minorities.

(Croucher 2002, 236). The lawsuit referred to the difficulty minority voters had
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when attempting to elect county commissioners. The major impediments included

the small Black populations, residential patterns, the financial burdens minority

candidates assumed when seeking countywide offices, and the racially polarized

voting behavior of minorities and Anglos. (Croucher 2002, 236). Although whites

were the minority, their voting bloc determined the outcome of elections. At times,

minority candidates competed in runoff elections, but lost them because of their

inabilities to attract crossover votes. For example, only five African Americans and

two Hispanics served on the Miami-Dade county commission from 1957 to 1992

although several had run for office. (Warren and Moreno 2003, 289). On August 14,

1992, federal court judge Donald Graham ruled in favor of the plaintiffs, ordering

that Dade County’s at-large electoral structure be changed to one where

commissioners would be elected from thirteen single-member districts. The court

agreed that Miami-Dade County’s at-large election system discriminated against

African Americans and Hispanics by making it more difficult for them to elect their

preferred representatives. (Meek v. Metropolitan Dade County 1992). Eventually, a

thirteen-member district commission (with three predominantly Black, seven

predominantly Hispanic, and three predominantly white districts) replaced the

nine-member at-large commission. (Austin 2018, 110). As a result of the Meek case,

the commission became much more diverse. One study reported, “In April 2003, the

county commission went from a nine-member body with never more than one
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African American and one Hispanic commissioner at a time to a thirteen-member

body with six Hispanics, four African Americans, and three non-Hispanic whites.”

(Warren and Moreno 2003, 289).

        34.      More recently, in the 2018 Rivera v. Barton case, several civil rights

and justice organizations, including Faith in Florida, Hispanic Federation, Mi

Familia Vota Education Fund, UnidosUS, and Vamos4PR, as well as individual

voter Marta Rivera, filed a lawsuit in the United States District Court in the Northern

District of Florida, Gainesville Division against the Florida Secretary of State and

32 Florida counties. (Sesin 2018). They argued that state election officials violated

section 4e of the Voting Rights Act by failing to provide ballots and other

information in Spanish to Puerto Rican voters who had recently moved to Florida.

Puerto Rico is a U.S. territory and Puerto Ricans are U.S. citizens. (Slanker et al.

2018). 3 As a result, these individuals can register and vote in state elections after

relocating to the U.S. Spanish is the primary language for many of them. (Sesin

2018). In 2018, approximately one million Puerto Ricans resided in Florida. Of

those, approximately 859,000 were eligible to vote. (Sesin 2021). An undisclosed

settlement was reached in early 2021. (Sesin 2021).




3
  Section 4e provides that “the right to register and vote may not be denied to those individuals who have completed
the sixth grade in a public school, such as those in Puerto Rico, where the predominant classroom language is a
language other than English.” (U.S. Department of Justice 2021c).
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IX.   BLACK VOTER DISENFRANCHISEMENT AND VOTE DILUTION
      FOLLOWING PASSAGE OF THE CIVIL RIGHTS ACT OF 1957 AND
      THE VOTING RIGHTS ACT OF 1965

      35.    Before the ratification of the Voting Rights Act of 1965, the harassment

and intimidation of Black voters in Florida (and throughout the South) resulted in

extremely low voter registration rates. In Tennessee, Arkansas, Florida, and Texas,

poll tax requirements were the primary method used to achieve disenfranchisement.

(Salvatore et al 2007, 12). Because of widespread evidence of Black voter

disfranchisement in Florida and other southern states, Congress passed the Civil

Rights Act of 1957. Among other things, the Act established the U.S. Commission

on Civil Rights to investigate allegations of citizen disfranchisement on account of

race, color, religion, or national origin. (Wood 2016, 6). One of the first complaints

of Black disfranchisement was from Gadsden County, Florida. In a sworn complaint,

one citizen alleged that “through threats of bodily harm and losing of jobs, and other

means, the Negro residents of Gadsden County, Fla., are being deprived of their right

to vote.” (Wood 2016, 7). The Civil Rights Act of 1957’s scope was not

comprehensive enough to combat the massive resistance to Black suffrage.

(Anderson 2018, 20). The Civil Rights Commission’s first report documented that

in Gadsden County in 1958 “only 7 Negroes were registered [to vote] . . . although

10,930 adult Negroes lived there.” (Wood 2016, 7). Three years later in 1960, the

predominantly Black county had a 12,261 Black voting-age population, but still only

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seven African Americans were registered to vote. (Klas 2016). Before the Voting

Rights Act, Florida counties with the largest Black populations had the lowest Black

voter registration rates. (Wood 2016, 7). According to a second U.S. Civil Rights

Commission report, Black voters were confronted with threats, violence, and

harassment when attempting to register. These tactics included cross burnings and

fire bombs on their properties and threatening phone calls. (Wood 2016, 7).

      36.    The Voting Rights Act of 1965 outlawed overt discriminatory voting

practices that had the effect of prohibiting African Americans and Latinos from

voting in states like Florida. Its key provisions included:

   • Federal supervision of voter registration in areas where less than 50 percent

      of the nonwhite population were registered voters and with historical

      evidence of African American voting discrimination.

   • The abolition of literacy tests.

   • A U.S. attorney general investigation of poll taxes which had been banned

      by the 1964 24th Amendment to the U.S. Constitution in federal elections

      and by the 1966 U.S. Supreme Court Harper v. Virginia Board of Elections

      decision in state elections.

   • A “coverage formula” in section 4b that identified counties that had to meet

      section 5’s preclearance requirement. These areas had a history of minority

      disenfranchisement as well as a small percentage of Black registered voters.
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      Municipalities and states were prohibited from changing the voting rules and

      procedures in these “covered jurisdictions” unless they were authorized by

      either the U.S Attorney General or a three-judge D.C. panel. In addition,

      states were allowed to “bail out” if there was no evidence of discrimination

      for 10 years.

      37.    Because of the passage of federal civil and voting rights legislation

during the mid-1960s, the Florida legislature had to amend the state Constitution to

guarantee civil and voting rights to Black and Latino citizens. In 1968, the state

legislature drafted its first new constitution since 1885. (Wood 2016, 7). The 1885

Constitution had banned slavery in section 19 of its “Declaration of Rights” , but

made no mention of either race or racial discrimination. (Florida Constitution

Revision Commission 2021). The 1968 Constitution stipulated that “All natural

persons, female and male alike, are equal before the law and have inalienable rights.

. . . No person shall be deprived of any right because of race, religion, national origin,

or physical disability.” (Article 1, § 2, Florida Constitution, 1968).

      38.    The Black voter registration rate increased significantly after the

Voting Rights Act went into effect. In 1960, 40% of Florida’s Black citizens were

registered. In 1968, Gadsden County had 4,663 registered Black voters. (Isbell

2021a). By 1971, the statewide Black voter registration percentage had grown to

almost 60% (Southern Oral History Program 2021). Also by 1972, the number of
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registered Black voters (7,615) in Gadsden County had for the first time surpassed

the number of white registered voters (7,391). (Isbell 2021a). During this period,

Black Floridians won their first elected offices since Josiah T. Walls and Henry

Harmon won state legislative seats and served from 1868 to 1870. (Brown 1998;

Young 2006). In 1968, Joe Lang Kershaw became the first African American elected

to the state House (Kral 1999), followed in 1970, by Gwen Cherry, the first Black

female state House member. (Gwen S. Cherry Black Women Lawyers Association

2021). One analysis of Black political evolution in Florida discovered that “Florida’s

black minority was just coming into its own political power. Registration was

steadily increasing as the Jim Crow structures fell apart. For example, 1970 would

finally see African-Americans take control of registration in Gadsden, Florida’s lone

black-majority county.” (Isbell 2021a).

      39.    After the percentages of registered minority voters increased, Black and

Hispanic citizens wanted to continue electing people of color to major offices, but

had to challenge legislative efforts to dilute their votes. The 1968 state constitution

had required redistricting two years after every census and that the Florida Supreme

Court approve the districts. (Isbell 2021a). Beginning in 1970 and for every

subsequent decade thereafter, the legislature attempted to draw districts to prevent

Florida’s Black and Hispanic citizens from electing minority representatives. Blacks

and Hispanics had to fight “for representation in the map-drawing process.” (Isbell
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2021a). Black voters and Republicans unsuccessfully challenged the newly-drawn

1970 districts in the Wolfson v. Nearing case. They accused the legislature of both

racial and partisan gerrymandering and argued that “gerrymandering and multi-

member districts are used with discriminatory effect so as to cancel out or minimize

the votes of racial and political elements of the constituency. ” (Wolfson v. Nearing

346 F. Supp. 799 (1972)). The plaintiffs specifically pointed to the drawing of

districts in Gadsden, Broward, Dade, Duval, and Polk Counties. Plaintiffs alleged

that districts were drawn in such a way that Gadsden (where Blacks outnumbered

whites) was combined with surrounding predominantly white counties to prevent the

election of Black representatives. Moreover in Broward, Dade, and Duval, “readily

identifiable black ghetto areas” were not placed in the same district so that Black

voters could elect Black representatives. (Wolfson.) As a result, other southern states

(Alabama, Georgia, Tennessee, South Carolina, Louisiana, Texas, North Carolina,

Arkansas, and Mississippi) had elected more state representatives than Florida by

1977. (Isbell 2021a). In 1977, Florida’s 160-person legislature had only three Black

representatives and no Black state senators. (Isbell 2021a). Thus, while Blacks in the

state of Florida had made progress in the years following the Voting Rights Act, the

legislature continued to dilute the Black vote so that few Blacks would win elections.

Thus, as has been the pattern throughout most of Florida’s history, when minority



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voters experience progress in advancing their use of the franchise, that progress is

met with a backlash.

      40.    In 1980, when Carrie Meek became the first Black female state senator,

the Florida legislature had no Hispanic members. (Isbell 2021a). In 1982, Arnett E.

Girardeau, an African American man, won election to the state Senate and Illeana

Ros-Lehtenin, a Cuban American woman, won election to the state House. (Gadsden

County, Florida Government 2021; Rohrer 2016). These victories again signaled that

Black and Hispanic voters were making progress in their efforts to elect political

representatives.

      41.     In 1982, the NAACP and other civil rights organization challenged

Florida’s redistricting process. The legislature had again redrawn districts to make it

difficult for Blacks to elect representatives. Instead of creating a predominantly

Black district that combined neighborhoods in South Tallahassee with those in

nearby Gadsden County, the state House created two predominantly white

legislative districts (the 8th and the 9th) that combined the south sides of Tallahassee

and Gadsden, respectively, with predominantly white, rural areas. (Isbell 2021a).

Despite this, African American candidate Al Lawson won election to the House

representing the 9th district because of a high Black turnout rate and a split of the

vote among three white candidates. Lawson and Bette Wimbush, an African

American woman, competed in the runoff election that Lawson later won. The 40%
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Black turnout rate surpassed the 30% turnout among White voters. (Isbell 2021a).

Despite the efforts of the legislature to prevent his election, Lawson’s victory made

him the first Black state representative from the Panhandle since Reconstruction.

      42.    The 1982 redistricting process resulted in two predominantly Black and

one predominantly Hispanic state legislative districts. (Isbell 2021a). However by

the end of the 1980s, the number of African Americans in the state legislature grew

from five to 10 and Hispanics increased from one to nine. (Isbell 2021a). During the

1992 redistricting process, both Black and Hispanic citizens demanded the creation

of majority Black and Hispanic state legislative and congressional districts. While

the NAACP and other civil rights groups requested the creation of two

predominantly Black congressional districts, the Florida Black Legislative Caucus

requested four such districts. (Isbell 2021b). Illeana Ros-Lehtinen became the first

Cuban American congressional representative from Florida after winning a 1989

special election. (Isbell 2021b). Although this was a significant victory, State

Senator Mario Diaz-Balart argued that the Miami-Dade area should have two

districts with at least 60% Hispanic populations. (Isbell 2021b). Eventually, after

many debates and compromises, the legislature later created three African American

districts (two majority and one with a 45% black voting-age population) and two

majority Hispanic districts, in South Florida. (Isbell 2021b). After winning election

to the U.S. House of Representatives in 1992, Carrie Meek (along with Corinne
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Brown and Alcee Hastings) became Florida’s first Black congressional

representatives since Reconstruction. (Isenstadt 2009). Illeana Ros-Lehtinen and

Mario Diaz-Balart won the two majority Hispanic congressional districts. (Isbell

2021b). African Americans and Latinos have also won other political offices over

the years, including holding the majority of the offices in some municipalities such

as El Portal, Lauderdale Lakes, Quincy, North Miami, and Hialeah, and in counties

such as Broward and Gadsden. (Austin 2018; Moreno and Austin 2015).

      43.    Thus, while the Florida legislature had been attempting to dilute Black

and Hispanic votes such that few minorities would be elected, that did not work as

well as had been hoped. As a result, in later years, the Florida legislature would turn

its attention to making it difficult for Black and Hispanic citizens to vote. However,

they were prevented from doing so because of pre-clearance objections under the

Voting Rights Act.

      44.    In 1975, Hillsborough, Monroe, Collier, Hendry and Hardee counties

in Florida were added to the Voting Rights Act’s coverage formula in section 5

because fewer than half of the adults were registered to vote and more than 5 percent

of the population was non-English speaking. (Paulson 2013b).

      45.    These counties attempted to change their voting procedures many

times. In at least five cases, the U.S. Department of Justice declined preclearance.

For example, in 1985, the Department of Justice objected to a restriction on assisting
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voters casting absentee ballots as a violation of section 208 of the Voting Rights Act

(Reynolds). In 1998, the Department of Justice declined to preclear a requirement to

include a social security number on submitted absentee ballots because of the

requirement’s racially discriminatory impact. (Lee). And in 2012, the United States

sued the state to stop a voter purge that the court found likely discriminated against

naturalized citizens. See United States v. Florida, 870 F. Supp.2d 1346, 1350 (N.D.

Fla. 2012).

      46.     Florida also blocked Black residents from exercising political power by

such devices as at-large elections. Since 1983, scores of legal actions have been

brought in Florida against the state, its counties, and its municipalities, under the

Fourteenth Amendment, the Fifteenth Amendment, and/or the Voting Rights Act.

Examples of such cases include: Meek v. Metropolitan Dade County, Fla., 805 F.

Supp 967 (S.D. Fla. 1992) (holding that Dade County’s at-large system of election

to the County Commission violates Section 2 of the Voting Rights Act by diluting

both Black and Hispanic voting power and enjoining Defendants from conducting

elections under said at-large system), aff’d in part, rev’d on other grounds, 985 F.2d

1471 (11th Cir. 1993); McMillan v. Escambia County, Fla., 748 F.2d 1037 (5th Cir.

1984 (ruling that the at-large system for electing the Escambia County Commission

in Escambia County, Florida, violated section 2 of the Voting Rights Act); NAACP

v. Gadsen County School Board, 691 F.2d 978, 982 (11th Cir. 1982) (finding that
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the at-large school board electoral system in Gadsden County was enacted fora

discriminatory purpose and that the system had the effect of diluting minority votes).

X.    THE 2000 ELECTION AND FURTHER ATTEMPTS                                      TO
      DISENFRANCHISE BLACK AND HISPANIC VOTERS

      47.    As discussed, the Voting Rights Act led to dramatic increases in Black

and Hispanic voter turnout. Florida responded to this progress in various ways that

adversely affected Blacks’ and Hispanic’s right to vote.

      48.    One technique used to disenfranchise Black and Hispanic voters prior

to the 2000 election was voter registration purges. The discriminatory effect, if not

intent, of these registration purges is plain from the data. A U.S. Commission on

Civil Rights investigation concluded that Black and Hispanic citizens were

disproportionately purged from the voter rolls before the 2000 election. For example

in Miami-Dade County, Blacks were 65 percent of the voters purged even though

they made up only 20.4 percent of the population. (Paulson 2013a).

      49.    Thus, while Black and Hispanic turnout in the 2000 election was strong,

it very likely would have been even stronger had Florida not purged so many

registrations.

      50.    Registration purges were not the only means used to make it more

difficult for Black and Hispanic Floridians to vote. In April 2001, the U.S.

Commission on Civil Rights issued a report entitled Status Report on Probe of


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Election Practices in Florida During the 2000 Presidential Election, which found

that the following occurred on election day in November 2000:

   • Officials did not ensure that all precincts received adequate resources,

      especially those precincts catering to Black and Hispanic voters.

   • “Police sweeps and roadblocks” in African American neighborhoods

      intimidated many Black voters. Civil rights groups like the N.A.A.C.P. and

      the Rainbow Coalition requested a federal inquiry after many African

      American voters alleged voting discrimination in Black and Hispanic

      neighborhoods. They voluntarily gave sworn statements to the U.S. Justice

      Department. (Navarro and Sengupta 2000).

   • Non-felons were purged from voter registration rolls based on unreliable

      information and poor purge policies.

   • Voter registration applications were not processed in a timely and proper

      manner under the National Voter Registration Act, commonly referred to as

      the “motor-voter law.”

   • Old and defective election equipment was found in poor precincts.

   • Language assistance when required and requested was not provided.

   • Persons with disabilities faced accessibility problems at polling sites.

   • Poll worker training was inadequate.


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   • Insufficient funds were appropriated for voter education (U.S. Commission

      on Civil Rights 2002a).

      51.   A June 2002 report from the U.S. Commission on Civil Rights, “Voting

Irregularities in Florida During the 2000 Presidential Election,” included sworn

statements from African American and Hispanic voters that substantiated

disfranchisement claims during the November 2000 election period. The Blacks and

Hispanics alleged that:

   • Their names were not on rolls of eligible registered voters, and Supervisors

      of Elections offices failed to answer their calls R. Jai Howard, an African

      American female and the vice president of the Florida Agricultural and

      Mechanical University Student Government Association, testified on behalf

      of herself and approximately 12,000 mostly African American students.

      These students had participated in extensive voter registration efforts in the

      months prior to the November 2000 election. After election day, the Student

      Government Association learned that several Black students encountered

      difficulties when attempting to vote and some were prohibited from voting.

      These accounts included statements from one student “who had two voter

      registration cards with two different precincts, some students who received

      no voter registration cards, switching of precincts without prior notification,

      misinformation at precincts, and students who had attempted to register
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    numerous times and never received registration [cards] and were never

    entered into the system.” (U.S. Commission on Civil Rights 2002b).

 • Poll workers confirmed that hundreds, if not thousands, of Black and

    Hispanic voters were disenfranchised. For example, according to Barbara

    Phoele, a Broward County poll worker, most of the individuals who were

    prohibited from voting were African American and Hispanic voters whose

    names were not listed on the rolls. In addition, the clerk at the precinct

    where Ms. Phoele worked made no attempt to obtain affidavits from these

    voters so that he/she could send them to the central election office. The

    report stated, “According to Ms. Phoele, the clerk did not communicate with

    the voters and did nothing to encourage them to vote. In fact, Ms. Phoele

    noticed later that afternoon that the sign informing voters where they should

    call if they experienced problems had never been posted. She brought this to

    the attention of the precinct clerk who explained, ‘I didn’t have time to put it

    up.’ Ms. Phoele recalled that in past elections it took only about 10 minutes

    to reach the elections supervisor, but on November 7, 2000, she turned away

    approximately 40 or 50 people because she could not access the supervisor

    of elections.” (U.S. Commission on Civil Rights 2002b).

 • Polling places closed at an earlier time than that posted. According to

    Lavonna Lewis, an African American first-time voter, her assigned polling
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    place was closed when she arrived to cast a vote. After being informed that it

    was closed by a white poll worker standing outside, she noticed that the

    same worker “allowed a white gentleman to walk in and get in line to vote.”

    (U.S. Commission on Civil Rights 2002b).

 • Polling places closed without notice (in violation of a requirement that

    Supervisors of Elections moving polling places “not more than 30 days or

    fewer than seven days prior to the holding of an election, give notice of the

    change”. (U.S. Commission on Civil Rights 2002b). This notice had to be

    published in a county newspaper, mailed to each registered voter at least 14

    days before election day, posted at the old polling place advising voters of

    the new polling location which had to be identified with a sign.

 • Several Florida voters reported seeing Florida Highway Patrol troopers in

    and around polling places. Troopers conducted an unauthorized vehicle

    checkpoint within a few miles of a polling place in a predominantly African

    American neighborhood. In another area, trooper vehicles were reportedly

    parked within sight of at least two polling places. The FHP reported that

    troopers only visited polling places on Election Day in order to vote.

    However, in light of the high voter turnout that was expected during the

    2000 presidential election, particularly among communities of color that

    may have a strained relationship with law enforcement, some Floridians
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      questioned the timing of and the motivation for the FHP’s actions and

      believed that they were there to intimate voters which violates the Florida

      Election Code. (U.S. Commission on Civil Rights 2002b).

      52.    In sum, Florida’s actions during the 2000 election demonstrated that

Black and Hispanic voters, despite significant progress, faced barriers to voting that

white voters did not, which depressed minority voter participation. This is continued

evidence of voting discrimination against Black and Hispanic voters that has plagued

the state for several decades.

      VIII. POST-2000 DISENFRANCHISEMENT

      53.    Florida’s attempts at disenfranchising Black and Hispanic voters

continued after the well-publicized steps taken prior to the 2000 election.

Unfortunately, despite the Voting Rights Act, Florida continued to implement

policies that disenfranchised Black and Hispanic voters. I will discuss a number of

these policies because they provide important context; SB 90 was not passed in a

vacuum. Indeed, SB 90 is in many ways a culmination of years of attempts by white

legislators and governors to discriminate against Black and Hispanic voters.

      54.    After the 2000 election exposed significant problems with Florida’s

election administration, the legislature passed, and Governor Jeb Bush signed, the

Florida Election Reform Act of 2001 (SB 1118) which, according to Governor Bush,

was supposed to correct the problems associated with the 2000 election. It prohibited

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the use of voting systems that required paper ballots and punch cards; allowed voters

to return provisional ballots to the Supervisor of Elections; provided procedures for

voting and counting provisional ballots; substantially modified standards and

procedures for manual recounts; provided for absentee ballots for overseas voters;

allowed voters who had previously requested absentee ballots to cast provisional

ballots if they desired to vote in person; and authorized the Elections Canvassing

Commission to facilitate absentee voting during emergencies (Florida Senate 2002).

SB 1118 eliminated the “for cause” requirement for casting an absentee ballot, thus

allowing all registered Florida voters to cast an absentee ballot without restriction.

      55.    The 2001 Election Reform Act also included a ten-point Voter’s Bill of

Rights statement that guaranteed the right of every citizen to: 1) vote and have his

or her vote counted accurately; 2) cast a vote if in line at poll closing time; 3) seek

and receive assistance in voting; 4) receive up to two replacement ballots if needed;

5) receive an explanation if his or her registration is in question; 6) cast a provisional

ballot if his or her registration is in question,; 7) prove his or her identity by signing

an affidavit if there is any doubt; 8) receive written instructions to use when voting,

and oral instructions from election officers when requested; 9) vote free from any

kind of coercion or intimidation; and 10) vote on a voting system that is not defective

and accurately casts votes (Mills 2001, 77).



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      56.   The 2001 Election Reform Act, however, contained several changes to

Florida’s election laws that were directed at disenfranchising Black and Hispanic

Voters. An African American voter and two organizations challenged the law

immediately after it was signed, alleging that it violated the Voting Rights Act as

well as the First, Fourteenth, and Fifteenth Amendment of the U.S. Constitution.

Major v. Sawyer, Case No. 4:01-cv-10088-KMM (SDFL, 2001). In particular, the

Major lawsuit challenged the following provisions of SB 1118:

   • A voter list maintenance section that had standardless ex-felon identification

      procedure, was more likely to erroneously identify minorities as ex-felons,

      and also relied on a certified mail procedure that placed the burden on the

      voter (as opposed to the government) for remaining on the voter rolls.

   • The system used to disqualify provisional ballots disproportionally would

      affect minority voters because it required rejecting as illegal provisional

      ballots from legal, eligible voters who mistakenly voted in the wrong

      precinct, and also because the provisions would prevent a provisional ballot

      from counting if a voter who was erroneously removed from the voter roll

      did not resolve the eligibility question.

   • The requirement that precincts post a list of voter responsibilities. These

      responsibilities include an obligation to 1) study and know candidates and

      issues; 2) keep his or her voter address current; 3) know his or her precinct
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      and its hours of operation; 4) bring proper identification to the polling

      station; 5) know how to operate voting equipment properly; 6) treat precinct

      workers with courtesy; 7) respect the privacy of other voters; 8) report

      problems or violations of election law; 9) ask questions when confused; and

      10) check his or her completed ballot for accuracy (Mills 2001, 77).

      57.    One observer described the voter responsibilities statement as an

example of a “modern-day analogy to unconstitutional literacy tests.” (Mills 2001,

76). Indeed, in the aftermath of the 2000 Florida election, in which it was thought

that many voters made errors in filling out their ballots, Florida’s Speaker of the

House “was quoted by the news media as stating that the widespread voter confusion

might be a reason to require literacy tests.” See Major v. Sawyer, Amended

Complaint, ¶ 21. The Voting Rights Act of 1957 had previously banned literacy tests.

      58.    Another observer expressed the belief that the requirement would

“disproportionately discourage minorities from voting.” (Ulferts 2005). And the

Major v. Sawyer plaintiffs asserted that “[t]he Voter Responsibilities section of the

Election Reform Act has the potential for discrimination in that it is likely to deter

electors, particularly racial and language minorities, from voting who have not

studied the candidates and issues, are uninformed as to their precinct and its hours

of operation, who do not have identification, do not know how to operate voting



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equipment properly or are otherwise confused regarding some aspect of the election

process.” (Major v. Sawyer, Amended Complaint, ¶ 57).

      59.    At the time the Major lawsuit was filed, certain of the challenged

provisions were under preclearance review, pursuant to section 5 of the Voting

Rights Act, by the Department of Justice. In response, the Florida Secretary of State

moved to dismiss several of plaintiffs’ claims, asserting that those challenged

provisions were not being enforced because they were under preclearance review.

Accordingly, the Court granted the motion to dismiss. However, the plaintiffs’

challenge to the voter responsibilities portion of SB 1118 was not dismissed and thus

the lawsuit proceeded on that claim. However, the Florida legislature, no doubt

fearing it would lose the lawsuit, repealed the requirement, which led to the lawsuit’s

dismissal.

      60.    As a result of SB 1118, Florida’s governors and state legislatures began

encouraging voters to cast absentee, mail, or drop box ballots. Beginning in 2002,

the governor and state legislature encouraged the state’s voters to cast “no excuse”

absentee ballots and submit them either by mail or drop box. (Sherman 2012). At the

time, voters did not have to provide reasons for their ballot requests and in 2016,

state legislators changed the names of these ballots from absentee to “vote-by-mail"

ballots.” (Turner 2020).



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      61.    Florida statute 101.62 (Fla. Stat. § 101.62) stipulated the manner in

which absentee ballots could be requested and delivered. (The Florida Senate 2002).

In 2002, one would have predicted that white voters would be more likely to mail in

absentee ballots because of our nation’s history. Throughout most of American

history, white members of the military, American citizens living abroad, and the

physically disabled voted by absentee ballot much more frequently than did other

Americans. (Rotondi 2020).

      62.   Indeed, the first documented usage of absentee ballot voting occurred

in 1864 during the Civil War when approximately 150,000 of one million white

males voted in the 1864 presidential election. (Rotondi 2020). Additional federal

voting legislation was passed in 1942, 1955, 1986, and 2009 to make it easier for

military men and women (most of whom were white) to vote by absentee ballot.

(Rotondi 2020). For many years, the governor and legislature also encouraged no-

excuse absentee voting because it benefits “Republican-leaning voters” who usually

are white. (Jeffe and Jeffe 1990; Karp and Banducci 2001; Oliver 1996).

      63.   As white Floridians continued to vote by mail in larger numbers,

Florida continued to make it easier to do so. In 2004, Florida promulgated SB 2566,

which took effect on July 1, 2004. SB 2566 amended earlier legislation by

eliminating the previous requirement that signatures on absentee ballots had to be

witnessed. Instead, SB 2566 gave the Supervisor of Elections in each county
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authority to compare voter signatures to verify registration. SB 2566 also allowed

voters to submit their ballots up to 15 days before election day at an early voting site

and until two days before a scheduled election. (Herron and Smith 2012). All of

these actions on the part of the governor and legislature were designed to increase

the number of citizens voting by absentee ballot, mail ballot, or early voting, and to

avoid issues such as long lines and defective machines on election day. (Posner

2001). 4

        64.      After the enactment of SB 2566, increasing numbers of Black and

Hispanic citizens began voting during early voting periods (both in-person and by

absentee ballot) rather than on election day. In 2008 and 2012, Barack Obama

received the majority of votes from Florida’s Hispanic population. Florida’s

Hispanic voters were an important component of President Obama’s victory as he

carried Florida by only 236,450 votes in 2008. (Moreno and Austin 2015). As shown

in Table 1 below, in 2008, members of the African American and Hispanic electorate

voted early in larger numbers as compared to their percentage of the population.

According to the 2000 U.S. Census, Florida’s Black population was approximately


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  Prior to the 2020 election, politicians praised Florida’s vote by mail system, and it continued to be popular. For
example, in 2020, then president Donald J. Trump praised the efficiency of Florida’s mail and absentee voting
practices and said, “Whether you call it Vote by Mail or Absentee Voting, in Florida the election system is Safe and
Secure, Tried and True. Florida’s Voting system has been cleaned up (we defeated Democrats attempts at change), so
in Florida I encourage all to request a Ballot & Vote by Mail! #MAGA.” (Oprysko 2020). Also in 2020, Thea
McDonald, the deputy national press secretary for the Trump campaign, defended the efficiency of Florida’s absentee
voting procedures in an emailed statement, saying: “What most states call ‘absentee voting’ has long been termed
‘vote-by-mail’ in Florida — it’s been that way for years, and it works.” (Oprysko 2020).
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14.6 percent, but the Black share of early voting turnout was more than twice that.

(U.S. Census 2000, 2). As seen in Table 1, the Black portion of early voting turnout

ranged from 31.5 percent to 40 percent. Hispanics accounted for 16.8 percent of the

Florida population in 2000, but they accounted for 21-24 percent of early voters in

2008.

              Table 1 Florida Early Voting in the November 2008 Election


   Race of Voter           NYU Law            Loyola Law          Smith and
                                                                 Herron (2012)

         Black                33.2                31.5                  40

         White                 N/A                37.2                  34

         Latino               23.6                22.4                  21

(Source: Herron, Michael C. and Daniel A. Smith. 2012. “Souls to the Polls: Early

Voting in Florida in the Shadow of House Bill 1355.” Election Law Journal 11, no.

3: 331-347; Sherman, Amy. 2012. “‘Souls to the Polls’ Sunday Drew High Numbers

of African-Americans and Hispanics, Corinne Brown Says.” Politifact: The Poynter

Institute. June 22. https://www.politifact.com/factchecks/2012/jun/22/corrine-

brown/souls-polls-sunday-drew-more-african-american-and-/. Accessed on July 22,

2021).

        65.    The Florida legislature and governor responded to increased use of

early and mail voting by Black and Hispanic voters in the 2008 election by
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attempting to curtail its use. In 2011, Florida Governor Rick Scott signed House Bill

1355 after the legislature passed it. The lead sponsor of HB 1355 was Dennis

Braxley, who, I note, was also the lead sponsor of SB 90, which is the subject of the

present litigation.

      66.    Among other things, HB 1355 reduced the early voting period to eight

days. (The Florida Senate 2011). HB 1355 also reduced the amount of time for third-

party voter registration organizations to submit their voter registration applications

from 10 days to “within 48 hours” of receipt, required that they provide the names

of the persons collecting applications and that registration forms contain certain

identifying information, and ordered the Florida Division of Elections to maintain a

database of forms issued to third-party voter registration groups. (The Florida Senate

2011). In addition, HB 1355 required county canvassing boards to report all early

voting and tabulated absentee ballots to the Department of State within 30 minutes

after the polls close, and to subsequently report all results (other than provisional

ballots) every 45 minutes until complete. (The Florida Senate 2011).

      67.    A stated rationale for HB 1355 was preventing voter fraud. For

example, in an October 11, 2011 press release, the then Florida Secretary of State

stated that HB 1355 was needed “to combat voter fraud by preventing voters from

casting a vote in multiple counties.” (Simon, p. 5). Indeed, according to an article

in the Palm Beach Post, “Republican leaders said in proposing the law that it was
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meant to save money and fight voter fraud.” (Kam, Palm Beach Post, Former

Florida GOP leaders say voter suppression was reason they pushed new election

law, November 27, 2012). However, the article quotes former Florida Republican

Party Chairman Jim Greer as stating: “They never came in to see me and tell me we

had a (voter) fraud issue. . . . It's all a marketing ploy.” While Mr. Greer was under

indictment when he made these statements, Wayne Bertsch, a former Republican

official involved in Republican campaigns, and Charlie Crist, the former Republican

governor, confirmed Mr. Greer’s comments, according to the same article. The

article further reported that “[Governor] Crist said in a telephone interview this

month that he did not recall conversations about early voting specifically targeting

black voters ‘but it looked to me like that was what was being suggested. And I didn't

want them to go there at all.’”

      68.    One private citizen referred to HB 1355 as “nothing but a direct attack

on black voters. In Florida in 2011, when there were all of these laws passed to

restrict early voting days to get rid of Souls to the Polls Sundays, to make it harder

to register voters, that was an explicit strategy to suppress the black vote.” (Lerner

2016). As a result of this law, early voting sites would be closed on the Sunday

before election day. (Sherman 2012). In response to HB 1355, then-U.S. Attorney

General Eric Holder wrote a letter to then-Governor Scott that said, “I am deeply

disturbed that during your tenure, your state has repeatedly added barriers to voting
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and restricted access to the polls.” (Sherman 2014). According to Holder, the law

would have resulted in a “dramatic reduction in a form of voting disproportionately

used by African Americans” and further that “[a]ccordingly, the court [discussed

below] refused to approve reduced early voting hours with respect to the five

counties in Florida covered by the preclearance provision in the Voting Rights Act.”

(Sherman 2014).

      69.    In 2012, U.S. District Judge Robert Hinkle struck down some of HB

1355’s provisions, including one that levied fines against voter-registration groups

if they fail to submit registrations forms within 48 hours, as opposed to the 10 days

they had to submit forms before HB 1355. (Hastings 2012). According to Judge

Hinkle, the 48-hour requirement placed an undue burden on these groups. He also

stressed the importance of “permitting responsible organizations to conduct voter-

registration drives and making it easier for citizens to register and vote promotes

democracy.” (Hastings 2012). Denise Velázquez, executive director of State Voices

of Florida, was one of many Floridians who believed that HB 1355 was designed to

prevent Black and Hispanic Floridians from voting and expressed her disapproval of

the law when she said, “They [the legislature and then-Governor Rick Scott] did it

on purpose. There was no mistake about it. When we minority voters came out in

2008 in unprecedented numbers, they started looking for a way to keep that from

happening again.” (Hastings 2012). José Balasquide, Florida state director for
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plaintiff Mi Familia Vota Education Fund (a voter education, registration and

mobilization group that registered thousands of Latino voters during the 2008 and

2010 elections) agreed that the new law had the ulterior motive of suppressing the

Hispanic vote in particular and said: “They haven’t been able to demonstrate

premeditated fraud. If they don’t have proof, it seems to me that this is a strategy to

depress the community’s interest in participating in the electoral process, and

organizations like ours from persuading and promoting electoral participation in the

Latino community.” (Hastings 2012).

      70.    HB 1355’s proponents also either did or should have understood that it

would have a disparate impact on Black and Hispanic voters since these voters used

early voting opportunities (as opposed to vote by mail) at greater rates than white

voters. For example, the elimination of voting on the Sunday before election day

would make it more difficult for the members of predominantly African American

churches to participate in “Souls to the Polls” events. As shown in the photos below,

caravans of black voters traveled to the polls after the end of church services, listened

to gospel choirs, and participated in other festivities. (Sherman 2012). Sunday voting

was never required in Florida, but some counties offered it before it was eliminated

in 2011.




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      71.    Given that it was well-known that Black voters in particular voted in

high numbers on the Sunday before election day, the legislature and the governor

would have known that eliminating this day of voting would curtail the ability of

African Americans to vote. In November 2012, a group of Florida citizens filed a

class-action lawsuit in federal court after Governor Scott refused to issue an

executive order extending the amount of time to vote early (including a reinstatement

of Sunday voting). (Reid 2012). After the filing, Hillsborough, Miami-Dade,

Orange, Palm Beach, and Pinellas counties again allowed their residents to vote on

Sundays. (Reid 2012).

      72.    Because the five counties that were still under the preclearance

requirement of the Voting Rights Act were not allowed to implement any

unauthorized voting restrictions, the Department of Justice successfully sued

Florida. As a result, these new restrictions were prohibited from taking effect in the

covered counties. In Florida v. United States, the court stated that “the State has

failed to satisfy its burden of proving that those changes will not have a retrogressive

effect on minority voters.”

      73.    In addition, Florida has and continues to underfund its election

infrastructure, and this has led to additional voting challenges for Black and Hispanic

voters. For example, during the November 2012 election, many Floridians were still

in line waiting to vote when polls closed. A study by Ohio State University professor
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Theodore Allen discovered that 201,000 Floridians did not vote due to the long lines.

(Paulson 2013a). The Presidential Commission on Election Administration, a

bipartisan ten-member commission established by an Executive Order issued by

President Obama, recommended reforms after listening to hours of testimony from

election officials, voting-rights advocates, professors, and citizens about, e.g.,

Florida’s long waits to vote. (Presidential Commission on Election Administration

2014). Its members concluded that Florida’s voters waited in line for much longer

periods than voters in other states. (Presidential Commission on Election

Administration 2014).

      74.    Black and Hispanic voters waited for longer periods than white voters.

On average, Florida voters waited for 39 minutes to cast a ballot on election day in

2012 (compared to a 13-minute wait time nationally). (Bennett 2013). While white

Floridians waited for an average of 11.6 minutes to vote, Black voters waited twice

as long (23.3 minutes) and Latinos waited seven minutes longer (an average of 18.7

minutes). (Bennett 2013).

      75.    In sum, because HB 1355 reduced the number of early voting days,

more voters were forced to vote on election day. African American and Latino voters

were the targets of voting discrimination because of the elimination of Sunday voting

and the longer wait times that were designed to discourage many from voting.



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       76.   In late April 2013 in a complete reversal of the previous policy, the

Florida Legislature passed a bill, HB 7013, that eliminated many of the early voting

restrictions contained in HB 1355, such that Florida extended early voting times and

the number of polling places. This legislation was passed after Governor Rick Scott

commented in January that he had three goals aimed at fixing Florida’s voting laws

that became an embarrassment for the state during the 2012 National election.

“There were inefficiencies in the 2012 General Election …and our system needed to

be corrected… I asked the Legislature to enhance our system of elections and they

met the challenge,” the Governor commented. The issues Scott was referring to

boiled down to an increase of early voting days and hours, as well as the institution

of more early voting places as well as shorter, easier to complete ballots. After a

115-1 vote in the State House and then a 27-13 vote in the Senate, HB 7013 was

signed into law by Governor Scott (Cohen 2014).

       77.   HB 7013 reinstated the longer voting day period which was

approximately cut in half by 2011’s HB 1355. Pursuant to HB 7013, Supervisors of

Elections were required to hold a minimum of eight early voting days, but were

allowed to hold up to fourteen, including the Sundays that were excluded in 2011.

The reinstatement of voting on Sundays resulted in increased Black voter turnout

because it allowed many Black churches to resume “souls to the polls” voter turnout

efforts.
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      78.    HB 7013 also provided Supervisors of Elections more discretion over

where early voting could be held. County-level supervisors used this discretion to

add early voting sites at convention, civic, community and senior citizen centers, as

well as fairgrounds.

      79.    Leon County elections supervisor Ion Sancho called HB 7013 “the best

piece of elections legislation coming out of the Florida Legislature in the last

decade.” (Cohen 2014). League of Women Voters of Florida President Deirdre

Macnab hailed the reforms, saying, “it will go a long way in repairing the damage

done by the 2011 voter suppression bill.” (Cohen 2014). She conceded, however,

that persuading lawmakers to pass HB 7013 was not easy, adding that “sometimes

it felt like climbing a mountain with concrete boots” and she urged the public to

“stay vigilant to ensure that our elections system does not slide backwards.” (Cohen

2014).


      80.    Despite HB 7013, however, Florida’s implementation of its laws

continued to disenfranchise Black and Hispanic voters.

      81.    In Democratic Executive Committee of Florida v. Detzner, the plaintiffs

challenged Florida’s signature match statute, which had been amended in 2017, as

unconstitutional. According to the district court, the signature matching provisions

in Florida’s election law protected the state’s interest in preventing fraud. See p.

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1030 (p. 11 of the PDF I have reviewed). The district court found that the process

was illegal and thus issued a preliminary injunction. In particular, the court held that

Florida’s then in place signature matching statute was “based on a standardless

determination made by laypeople that the signature on a voters’ vote-by-mail or

provisional ballot does not match the signature on file with the supervisor of

elections.” The court went on, stating the following:

      Signature matching is a questionable practice, but it is hard to think of
      another way for canvassing boards to confirm vote-by-mail voters’
      identities. What makes Florida’s signature matching process even more
      problematic is that fact that counties have discretion to apply their own
      standards and procedures. Certain counties, such as Leon County, go
      above and beyond to ensure voters have a chance to cure a signature
      mismatch. But nothing in the law requires that and other counties may
      choose not to exercise the level of care and concern Leon County does.
      The only way such a scheme can be reasonable is if there are
      mechanisms in place to protect against arbitrary and unreasonable
      decisions by canvassing boards to reject ballots based on signature
      mismatches.

      82.    The court hed that the statutory cure period was insufficient:

      The cure period was intended to solve the inherent problems in
      signature matching, but the opportunity to cure has proven illusory.
      Vote-by-mail voters, in this election, were not notified of a signature
      mismatch problem until it was too late to cure. Provisional ballot voters
      are provided no opportunity to cure under the law. Without this Court’s
      intervention, these potential voters have no remedy. Rather, they are
      simply out of luck and deprived of the right to vote. What is shocking
      about Florida law is that even though a voter cannot challenge a vote
      rejected as illegal, any voter or candidate could challenge a vote
      accepted as legal. The burden on the right to vote, in this case,
      outweighs the state’s reasons for the practice.


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      83.    The court also found that unchecked discretion held by election

officials to reject vote-by-mail ballots from eligible voters deemed “noncompliant”

was not allowed, holding that this absolute power to throw out votes was facially

unconstitutional because it unduly burdened the fundamental right of Florida citizens

to vote and have their votes counted. See Democratic Exec. Comm. of Fla. v.

Detzner, 347 F. Supp. 3d 1017, 1022 (N.D. Fla. 2018) (“The precise issue in this

case is whether Florida’s law that allows county election officials to reject vote-by

mail and provisional ballots for mismatched signatures—with no standards, an

illusory process to cure, and no process to challenge the rejection—passes

constitutional muster. The answer is simple. It does not.”).

      84.    The defendants, including Florida’s Secretary of State, appealed and

sought to stay the district court’s order. The 11th Circuit Court of Appeals

summarized the issues in the appeal as follows:

      This case requires us to consider Florida’s practice of counting vote-
      by-mail ballots only after verifying that the voter’s signature provided
      with the ballot matches the voter’s signature in the state’s records.
      Although this practice is designed to prevent fraud, signature
      mismatches occur for a variety of reasons—including purely innocent
      ones. And Florida’s lack of any standards or formal training
      requirements for those who assess the signatures as mismatched can
      also contribute to false positives for signature mismatches. So the fact
      that a Florida election official may decide a voter’s signature provided
      with her ballot does not match her signature in the state’s records does
      not necessarily mean her vote is fraudulent and should not be counted.



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      But Florida’s election code allows for just that. Because of the way
      Florida has scheduled its election process, some voters who submit a
      vote-by-mail ballot by the stated deadline are not notified about a
      signature mismatch until after it is too late to demonstrate their
      eligibility to vote. As a result, their votes do not count, and they are
      disenfranchised.

(Democratic Executive Committee of Florida v. Lee). The 11th Circuit denied the

motion to stay the preliminary injunction. I understand that the appeal was

eventually dismissed for being “moot” because Florida promulgated a new statute

that replaced the one found unconstitutional by the district court.

      85.    This litigation took place in the context of significant racial disparities

in signature matching rejections, as Black and Hispanic voters had considerably

higher ballot rejections than did white voters, as the following data from the 2018

election in Florida demonstrates:




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(American Civil Liberties Union. 2020, p. 19-21)

       86.   Other recent evidence of Florida’s attempts to discriminate against

minority voters is seen in Madera v. Detzner. In that case, the court ordered the

Florida Secretary of State to require Florida’s county election supervisors to provide

Spanish language voting materials, as its failure to do so violated the Voting Rights

Act.

       87.   Another example of Florida’s backlash against progress made by Black

and Hispanic Floridians’ voting rights was the response of the Florida legislature

and governor to passage of Amendment 4 to the state constitution. In Amendment

4, Florida’s citizens voted overwhelmingly to end felony disenfranchisement—a

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relic of the Reconstruction Era that disproportionately impacts Black and Latino

voters. Almost immediately upon passage, the Florida legislature took steps to limit

the vote’s impact and preserve, as much as possible, the racially discriminatory

practice. Prior to 2019, Florida’s constitution permanently disenfranchised all

citizens who had been convicted of any felony offense unless the Clemency Board

restored their voting rights—making Florida one of only four states to impose a

lifetime voting ban for a felony conviction. Disenfranchisement based on criminal

conviction, which has been called the “new Jim Crow,” is “inextricably tied to the

United States’ history of racial discrimination,” and Florida adopted this

constitutional provision “in the post-Civil War era as a means to disenfranchise

former slaves who had been granted the right to vote under the Reconstruction

Amendments.” (Figueredo 2020). By 2016, the provision disenfranchised an

estimated 1.6 million Floridians. In 2018, Florida voters addressed this longstanding

discrimination by approving Amendment 4, which automatically restored voting

rights to as many as 1.4 million Floridians who had completed the terms of their

sentences.

      88.    The Florida legislature responded with SB 7066, prohibiting returning

citizens from voting unless they pay off all legal financial obligations imposed by a

court pursuant to a felony conviction, even if they cannot afford to pay. According

to a 2020 report issued by The Sentencing Project, nearly 900,000 Floridians who
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would otherwise have been eligible to vote under Amendment 4 were

disenfranchised by the law. In all, more than 1.1 million Floridians are unable to

vote because they have felony convictions or owe court debts, making Florida the

nation’s disenfranchisement leader. Reportedly, about 15 percent of the state’s Black

voting-age population is disenfranchised because of a conviction history, compared

to about 6 percent for the state’s non-Black population. (Uggen 2020)

XI.   SB 90 IS A RESPONSE TO INCREASED BLACK AND HISPANIC
      VOTER TURNOUT

      89.    By 2020, Black and Hispanic voters made unprecedented use of

expanded early voting opportunities. Similarly, Black and Hispanic voters also

expanded their voting by mail and drop boxes. In fact, the historical data shows that

Black and Hispanic use of vote-by-mail and drop boxes had dramatically increased

by 2020. As I previously mentioned in Table 1, African American early voting

percentages were in the thirty percentile range and those for Latinos were in the

twenty percentile range. These numbers had increased in several counties during the

2020 early voting election season.

      90.    Table 2 provides the 2020 mail and early voting percentages in Florida

counties with the largest Black populations. The Supervisors of Elections for these

counties published data showing the number of individuals in each county that

received a mail ballot, but failed to return it, as well as the numbers of people who


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cast mail ballots and/or voted during the early voting period. (Florida Department of

State 2020). In the November 2020 election, large numbers of African Americans

took advantage of mail and early voting efforts in counties with the largest Black

populations in the state. For example, according to Table 3, Palm Beach County has

an 18.7 percent Black population, but 53.6 percent of Blacks voted during the in-

person early voting period and 33.4 percent voted by mail.




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                                    Table 2
  Mail and Early Voting in Florida Counties with the Largest Black Populations,
                                 November 2020
__________________________________________________________________

Florida              Black      Area of       Mail       Early
County               Population the State     Voting     Voting
__________________________________________________________________

Gadsden                 55.8        Northwest          38.8        52.2

Madison                 37.8        North-central      24.7        69.3

Jefferson               34.3        North-central      39.4        53.0

Hamilton                32.8        Northeast          40.5        52.3

Leon                    31.7        Northeast          44.0        42.5

Duval                   30.6        Northeast          30.7        59.0

Broward                 30.1        Southeast          49.3        37.9

Escambia                23.2        Northwest          41.8        47.5

Orange                  22.7        Central            4.63        43.5

Union                   22.7        Northeast          26.8        68.6

Jackson                 26.9        Northwest          33.0        58.8

St. Lucie               21.0        Southeast          47.8        41.9

Alachua                 20.6        Northeast          48.0        42.6

Bradford                20.1        Northeast          37.8        52.5

Liberty                 19.6        Northwest          26.2        66.9

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Taylor                    19.6         North-central       37.8         52.5

Palm Beach                18.7         Southeast           53.6         33.4

Columbia                  18.5         Northeast           34.4         58.6

Hillsborough              17.8         Southwest           48.4         39.0

Miami-Dade                16.9         Southeast           43.3         43.5

__________________________________________________________________

Sources: Index Mundi: 2021. Florida Black Population by County.
https://www.indexmundi.com/facts/united-states/quick-facts/florida/black-
population-percentage#map. Accessed on July 24, 2021; Florida Department of
State.                “2020                  General                    Election.”
https://fldoswebumbracoprod.blob.core.windows.net/media/703948/gen-2020.pdf.
Accessed on July 31, 2021.

      91.    Another data point in this regard is as follows. In 2020, Black residents

of census-designated places (CDPs) (with the largest statewide Black populations

and registered voter percentages) voted by mail and voted early in large numbers.

For example, Franklin Park, Florida, is a CDP near the city of Fort Lauderdale in

Broward County. It has a population below 1,000 residents and is 99.9% Black.

(Broward County Board of County Commissioners 2011, 11). The U.S. Census

creates CPDs for the purpose of providing data “for settled concentrations of

populations.” (U.S. Census 2018). When examining the voting behavior of Franklin

Park’s residents (who voted in precinct R030 in Broward County), I found that the

overwhelming majority of them are registered voters (94.6 percent), the overall

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turnout rate was high (60.7 percent), 49.9 percent of those who voted cast mail

ballots and 65 percent voted in-person during the early voting period. (World

Population Review 2021). This is evidence of Black voter utilization of mail and

early voting procedures in Florida.

      92.    According to the information in Table 3 below, substantial numbers of

Latinos also voted by mail or during the early voting period in the 2020 election. For

example, Lee County has a 21.9 percent Hispanic population. 60.9 percent of the

members of their population voted by mail and 30.7 percent voted in person during

early voting. Also, Palm Beach County has a 22.9 percent Latino population, but

53.6 percent voted by mail and 33.4 percent voted during the in-person early voting

period.




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                                    Table 3
  Mail and Early Voting in Florida Counties with Largest Hispanic Populations,
                                November 2020
__________________________________________________________________

Florida        Hispanic        Area of        Mail       Early
County         Population      the State      Voting     Voting
__________________________________________________________________

Miami-Dade        65.0              Southeast         43.3        43.5

Osceola           55.3              Central           45.0        42.0

Hendry            54.3              South-central     29.4        61.2

Hardee            44.0              Southwest         26.6        61.1

Orange            32.3              Central           4.63        43.5

DeSoto            31.9              Southwest         34.2        58.7

Broward           30.4              Southeast         49.3        37.9

Hillsborough      29.2              Southwest         48.4        39.0

Collier           28.2              Southwest         51.5        38.8

Okeechobee        25.5              Central           37.0        55.1

Monroe            24.9              Southwest         52.9        36.3

Polk              23.6              Central           47.1        42.1

Palm Beach        22.9              Southeast         53.6        33.4

Seminole          22.0              Central           41.8        46.7

Lee               21.9              Southwest         60.9        30.7

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Glades             21.1                South-central       50.9         36.5

__________________________________________________________________
Index Mundi: 2021. Florida Hispanic or Latino Origin Population Percentage by
County. https://www.indexmundi.com/facts/united-states/quick-
facts/florida/hispanic-or-latino-population-percentage#map. Accessed on July 29,
2021; Florida Department of State. “2020 General Election.”
https://fldoswebumbracoprod.blob.core.windows.net/media/703948/gen-2020.pdf.
Accessed on July 31, 2021.

      93.    However, just as the legislature and governor responded to Black and

Hispanic increased use of early voting in 2012 by passing HB 1355, in 2021, they

responded by passing SB 90, which created several impediments to using these

voting mechanisms, and which will plainly affect Black and Hispanic voters far

more than white voters, a fact the legislature and governor had to know. As I have

pointed out, African American and Hispanic citizens have constantly challenged the

efforts of the Florida legislature and of Florida governors to disenfranchise them and

to prevent them from electing their preferred representatives. For several years

before the Voting Rights Act of 1965, most African Americans were prohibited from

voting. In later years, the Hispanic population grew significantly in Florida. They

too faced impediments when attempting to vote and elect Hispanic representatives.

Eventually, Black and Hispanic voters were able to vote and elect Black and

Hispanic officials. However, the state of Florida has continuously engaged in a

backlash against this progress. When African Americans and Latinos took advantage

of new or expanded voting laws and procedures (such as early in-person, drop box,
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absentee and/or mail voting, the legislature engaged in a backlash by enacting laws

that made it more difficult for these citizens to benefits from these voting laws and

procedures. SB 90 is yet another attempt to disenfranchise Black and Hispanic voters

so that they will not be able to elect their preferred representatives.

      94.    According to Florida Governor Ron DeSantis, SB 90 is an election

reform law that will prevent election fraud and preserve election integrity. As he

signed it, the governor explained the rationale behind it when he said, “Your vote is

going to be passed with integrity and transparency. . . . Right now I have what we

think is the strongest election integrity measures in the country. . . . We’re also

banning ballot harvesting. We’re not going to let political operatives go and get

satchels of votes and dump them in some drop box.” (Mower 2021). However, he

acknowledged that no serious voting irregularities during the November 2020

election. (Calvan 2021).

      95.    Key provisions of the bill include the following requirements:

   • Floridians now have to provide a driver’s license number, state ID number

      or the last four digits of their Social Security number to request a vote by

      mail ballot.

   • Instead of requesting a mail ballot through the next two general elections

      (for the next four years), requests are limited to the next general election (for

      two years).
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     • Drop boxes can only be used during early voting hours, unless it is located at

        the Supervisor’s office, and the boxes must be physically supervised while

        in use. Relying on remote video surveillance is not allowed. Failure to

        provide adequate supervision carries a $25,000 fine for leaving drop boxes

        unattended during early voting hours.

     • Nonprofit organizations seeking to register voters must now include a

        mandatory disclaimer “warning” voters that their registrations may not

        arrive on time, and are required -- under penalty of severe fines -- to deliver

        completed registrations to the voter’s individual county within 14 days. 5

     • The bill expands the definition of “solicitation” to include “engaging in any

        activity with the intent to influence or effect of influencing a voter” and it

        extends the “no-solicitation zone” to the 150 feet around ballot drop boxes

        (Mower 2021).

        96.      Given that the restrictions of SB 90 were not put in place until after

increased use of early and mail voting by Black and Hispanic voters, and that the

specific restrictions target issues that more Black and Hispanic voters will face than



5
  Many of these organizations successfully mobilized Black and Hispanic voters, especially during presidential
elections. For example, the members of groups such as Florida New Majority and the National Council of La Raza
knocked on thousands of doors to encourage Latino/a voter registration and turnout during presidential and other
elections since 2008. (DeRuy 2012; New Florida Majority 2021). In 2008, for instance, the number of Hispanic
Democratic registered voters (513,252) surpassed the number of Hispanic Republican registered voters (445,526).
Two years earlier, there were more Hispanic Republicans (414,185) than Democrats (369,906). (Pew Research Center
2008).
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white voters, the legislation is the legislature’s and the Governor’s response to the

mail and early voting participation of Florida’s African American and Hispanic

populations. This follows Florida’s long-standing pattern of responding to Black and

Hispanic Floridians’ progress in exercising their right to vote by curtailing those

rights. Thus, SB 90 is best understood as a backlash to Black and Hispanic turnout

in 2020.




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      97.   I respectfully reserve the right to supplement, augment, or amend my

opinions and/or to supplement my expert report in response to any report provided

by expert(s) provided by defendants and/or intervenors.



Dated: September 1, 2021




                                 __________________________________
                                       SHARON AUSTIN, Ph.D.




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Education:

The University of Tennessee at Knoxville
Earned doctorate in political science in August 1993

Major areas of emphasis: American Government (Public Law; Congress, the
                Presidency, and the Judiciary, and Minority Politics)

Minor areas of emphasis: Comparative Politics and Public Administration

Dissertation: Aftermath of the Voting Rights Act of 1965: Racial Voting Patterns in
                   Memphis Mayoral Elections, 1967-1991

The University of Memphis
Earned master’s degree in political science with a minor in education in December
1989

Christian Brothers University
Earned bachelor’s degree in history with a minor in political science in May 1987

Teaching:

The University of Florida
Professor, August 2018-Present
Director of the African American Studies Program, July 2012-August 2019
Interim Director of the African American Studies Program, August 2011-July 2012
Associate Professor, August 2004-August 2018.
Undergraduate Coordinator, August 2008- August 2010
Visiting Associate Professor, August 2001-August 2004. Received tenure in June
2007




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Courses offered:
African American Politics; American Government; Latino Politics and Policy;
African American Studies Seminar; African Americans in Paris; Asian American
Politics; Cultural Diversity; Community Analysis; Honors American Government;
Key Issues in Black Atlantic Thought; Presidential Inauguration Seminar; Race,
Gender, and Politics; Urban Politics; Women of Color and the Law

The Junior Statesman Program at Yale University
Associate Professor of American Government from July 1-26, 2002

The University of Michigan at Ann Arbor
Visiting Scholar of Political Science from August 2000-May 2001

Courses offered:
Political Participation and Pressure Groups; State and Local Government; Urban
Analysis

The University of Missouri at Columbia
Associate Professor of Political Science and Black Studies from July 2000-August
2002
Assistant Professor of Political Science and Black Studies from August 1995-July
2000

Courses offered:
American Government; Black Political Thought; Black Women in Politics;
Community Analysis; Introduction to Black Studies; Municipal Problems; State and
Local Government; Urban Politics; Women and the Law

The University of Louisville
Assistant Professor of Pan African Studies from August 1992-May 1995

Courses offered:
Black Nationalist Politics in America; Civil Rights and the Law, Parts I and II;
Constitutional Law-Civil Rights and Civil Liberties; Constitutional Law-Powers of
Government; Contemporary African American Political Topics; Politics of the
Black Community; Race, Class, and Gender in the U.S.; Southern Politics




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Grants for the African American Studies Program:

Received a $3,000 "Support for Workshops and Speaker Series in the Humanities"
Grant from the Center for the Humanities and Public Sphere in February 2016. This
grant funded "The Black Women in the Academy" workshop in February 2017 at
the University of Florida.

Received a $3,500 "Support for Workshops and Speaker Series in the Humanities"
Grant from the Center for the Humanities and Public Sphere in March 2015. This
grant funded "The Legacy and Influence of President Barack Hussein Obama"
workshop in February 2016.

Received a $1,500 "Civil Debate Wall" Grant from the Bob Graham Center for
Public Service in July 2012. This grant funded an online discussion of African
American views about same-sex marriage.

Received a $3,500 "Support for Workshops and Speaker Series in the Humanities"
Grant from the Center for the Humanities and Public Sphere in February 2012. This
grant funded "The Education and Identity of African American Men" workshop in
February 2013.


Grants for My Research and Teaching:

Primary Investigator, University of Florida Racial Justice Grant for $60,000 to
conduct research on Black faculty recruitment and retention, November 2020.

Primary Investigator, University of Florida Racial Justice Grant for $60,000 to
conduct research on the university’s ties to slavery, November 2020.

University of Florida Department of Political Science Grant for $1,000 to conduct
research on "Racial Group Consciousness and the Haitian Immigrant Quest for
Political Incorporation" with Doctoral Student Danielle King, April 2010.

University of Florida Graham Center Case Study Grant for $4,000 to conduct
research on "Taking Back the Land: The Battle of Liberty City’s Resident against
Gentrification." Coauthored by undergraduate student Leonard J. Laurenceau, April
2009.

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University of Florida Graham Center for $3,000 to develop a Latino Politics and
Policy course, April 2008.

University of Florida Department of Political Science Grant for $3,000 to conduct
research on “Concentrated Poverty, Social Isolation, and Political Participation in
the Southern Black Belt” during the summer of 2006, March 2006

University of Florida College of Liberal Arts and Sciences Humanities Enhancement
Grant for $4,000 to conduct research on “Concentrated Poverty, Social Isolation,
and Political Participation in the Southern Black Belt,” December 2005

Summer Research Fellowship for $7,000 from the University of Missouri in June
1996 to conduct research on “An Analysis of a New Generation of Black Mayors”

Research Council Grant for $2,000 from the University of Missouri in June 1996 to
conduct research on “An Analysis of a New Generation of Black Mayors”

Faculty Development Grant for $3,300 from the University of Missouri in June 1997
to attend the Inter-Consortium for Political and Social Science Research at the
University of Michigan

Research Grant for $2,000 from the Office of the Provost at the University of
Louisville in June 1994 to conduct research at the University of West Indies at Cave
Hill, Barbados, West Indies

Research Grant for $500 from the University of Louisville in May 1993 to conduct
research on “Black Women in Kentucky Politics”

Received Dissertation Fellowship for $2,000 from the University of Louisville in
August 1992


Honors, Awards, and Recognitions:

Selected as a University Term Professor, 2021-2024, for excellence in scholarship,
teaching, and service at the University of Florida.




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Selected for induction into the Edward A. Bouchet Graduate Honor Society’s UF
Chapter on February 8, 2021 because of my “scholarship, leadership, character,
service, and advocacy” on behalf of under-represented graduate students.

Selected as a University Term Professor, 2018-2021, for excellence in scholarship,
teaching, and service at the University of Florida.

Selected as a 2010-2011 Colonel Allen R. and Margaret G. Crow Term Professor
of Liberal Arts and Sciences for excellence in scholarship, teaching, and service at
the University of Florida, April 2010.

Winner of the Erika Fairchild Award of the Women’s Caucus of the Southern
Political Science Association on January 8, 2009. The award is given to a female
scholar with a strong record of scholarship who is committed to students, teaching,
and mentoring other female scholars, is a thoughtful, caring good citizen of the
discipline, and has a collegial spirit.

Best Paper on Blacks and Politics Award for “Black Group Consciousness in
South Florida”. Paper Presented at the Annual Meeting of the Western Political
Science Association, San Diego, California, March 18-21, 2008.

2006 SAVANT UF Honorary Membership Award. SAVANT UF was established
in 1967 to recognize those “who have attained a high standard of leadership in
collegiate activities and outstanding service to the University of Florida and the
surrounding community.” Its approximately 140 members granted an honorary
membership to me during the spring 2006 semester.

2004-2005 University of Florida University-wide Advisor of the Year

2004-2005 College of Liberal Arts and Sciences Advisor of the Year at the
University of Florida

2004-2005 Student Activities Center Student Organization Advisor of the Year at
the University of Florida for my work with the Black Political Science Association

Fellow, “Analyzing Poverty and Welfare Trends Using Census 2000 Data”
Workshop at the University of Michigan, Ann Arbor, June 23-27, 2003.



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Outstanding Mentor of the Gatorlaunch Program during the 2002-2003 academic
year.

Best Paper on Blacks and Politics Award for “The 2001 Los Angeles Mayoral
Election: An Analysis of the Racial Threat Hypothesis and Black-Latino Electoral
Coalitions” by Sharon D. Wright and Richard T. Middleton IV. Paper Presented at
the Annual Meeting of the Western Political Science Association, Long Beach,
CA, March 22, 2002.

My chapter “Clinton and Racial Politics” is published in The Postmodern
Presidency: Bill Clinton’s Legacy in U.S. Politics, which was selected by CHOICE
AS ONE OF THE “Outstanding Academic Books of the Year” for 2001.

Outstanding Mentor of the McNair Scholars Program during the 2001-2002, 2002-
2003, and 2004-2005 academic years

Freedom Journal Award, “The Voice Magazine Recognizes Dr. Sharon D. Wright
as an Exemplar of Outstanding Service to the Students of the University of
Missouri-Columbia, April 25, 1999

Profile in the Columbia Missourian newspaper, “The Wright Stuff: MU Professor
Spearheads Civil Rights Education,” October 19, 1997

Certificate of Recognition, “The Association of Black Graduate and Professional
Students Recognizes Dr. Sharon D. Wright for Dedicating her Time and Expertise
to the 1998 Graduate Professional Development Workshop,” April 3, 1999

Certificate of Appreciation, “The Association of Black Graduate and Professional
Students Recognizes Dr. Sharon D. Wright for Participating in the 1997 Graduate
Professional Development Workshop,” April 9, 1998

“A Case Study in Intra-Racial Divisions: The 1994 Shelby County Mayoral
Election” received the Rodney Higgins Best Paper Award of the National
Conference of Black Political Scientists, March 6-10, 1996

Fellow, Sixth Annual Africana Studies Summer Institute at the University of
Ghana at Legon, West Africa. The four-week institute (July 9-August 6, 1995) was
sponsored by the National Council for Black Studies and a grant from the Ford
Foundation
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Fellow, Summer Institute at the University of West Indies, Cave Hill in Barbados,
West Indies. The four-week institute (July 19-August 22, 1994) was sponsored by
the University of Louisville and the University of West Indies.


Publications:

Manuscripts-Published:

Sharon D. Wright Austin. The Caribbeanization of Black Politics: Group
Consciousness and Political Participation in America, (State University of Albany
Press, 2018), 256 pages.

Sharon D. Wright Austin. The Transformation of Plantation Politics in the
Mississippi Delta: Black Politics, Concentrated Poverty, and Social Capital in the
Mississippi Delta (Albany, NY: State University of New York Press, 2006), 280
pages.

Sharon D. Wright. Race, Power, and Political Emergence in Memphis (New York:
Routledge Press, 2000), 218 pages.

Manuscript Under Contract:

Sharon D. Wright Austin, editor. Political Black Girl Magic: The Elections and
Governance of Black Female Mayors. Under contract. Temple University Press.

Refereed Journal Articles-Published:

Sharon D. Wright Austin. 2021. Contemporary Black Populism and the
Development of Multiracial Coalitions: The 2018 Stacey Abrams and Andrew
Gillum      Gubernatorial     Campaigns. Political   Science   Quarterly. June
15. https://onlinelibrary.wiley.com/doi/epdf/10.1002/polq.13203.

Sharon D. Wright Austin, Editor of a special issue of The National Political Science
Review: The Journal of the National Conference of Black Political Scientists entitled
The Caribbeanization of Black Politics. Volume 19.1: 2018.



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Sharon D. Wright Austin, “The Group Consciousness and Political Participation of
African Americans and Black Ethnics.” The Caribbeanization of Black Politics
special issue of The National Political Science Review: The Journal of the National
Conference of Black Political Scientists. Volume 19.1: 2018.

Sharon D. Wright Austin, Sekou M. Franklin, and Angela K. Lewis. “The Effects of
Concentrated Poverty on Black and White Political Participation in the Southern
Black Belt.” National Political Science Review 15 (2013): 57-69.

Sharon D. Wright Austin, Richard T. Middleton IV, and Rachel Yon. The Effect of
Racial Group Consciousness on the Political Participation of African Americans and
Black Pan-Ethnics in Miami-Dade County, Florida. Political Research Quarterly
65, 3 (September 2012): 629-641.

Baodong Liu, Sharon D. Wright Austin, and Byron D’Andra Orey. Church
Attendance, Social Capital, and Black Voting Participation. Social Science
Quarterly 90, 3 (September 2009): 576-592.

Sharon D. Wright Austin and Richard T. Middleton IV. The Limitations of the
Deracialization Concept in the 2001 Los Angeles Mayoral Election. Political
Research Quarterly 57, 2 (June 2004): 283-293.

Sharon D. Wright and Richard T. Middleton IV. The 2001 Los Angeles Mayoral
Election: Implications for Deracialization and Biracial Coalition Theories. Politics
and Policy (formerly known as the Southeastern Political Review) 29, 1 (2002): 692-
707.

Sharon D. Wright. The Tennessee Caucus of Black State Legislators. The Journal
of Black Studies 31, 1 (September 2000): 3-19.

Sharon D. Wright. Political Organization or Machine: The Impact of Harold E.
Ford’s Endorsements in Memphis Mayoral Elections. National Political Science
Review: The Journal of the National Conference of Black Political Scientists 7(Fall
1999): 210-220.

Sharon D. Wright. Electoral and Biracial Coalition: Possible Election Strategy for
African American Candidates in Louisville, Kentucky. The Journal of Black Studies
25, 6 (July 1995): 749-758.

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Refereed Book Chapters-Published:

Sharon D. Wright Austin. African American, Black Ethnic, and Dominican Political
Relations in Contemporary New York City. In Black Politics in Transition:
Immigration, Suburbanization, and Gentrification, eds. Candis Watts Smith and
Christina M. Greer. (New York: Routledge, 2018).

Sharon D. Wright Austin and Danielle King. President Barack Obama and Racial
Politics. In Barack Obama's Historic Legacy: A Two Year Assessment, ed. John
Davis. (New York: Palgrave Macmillan, 2011).

Sharon D. Wright Austin and Richard T. Middleton IV. Racial Politics of Gaming
in the Delta. In Resorting to Casinos: The Mississippi Gaming Industry, ed. Denise
von Hermann (Oxford, MS: University Press of Mississippi, 2006).

Sharon D. Wright Austin and Richard T. Middleton IV. The 2001 Los Angeles
Mayoral Election: Implications for Deracialization and Biracial Coalition Theories.
In Black and Latino/a Politics: Issues in Political Development in the United States,
eds. Jessica Lavariega Monforti and William E. Nelson Jr. (Miami, FL: Barnhardt
and Ash, 2006) [reprint of “The 2001 Los Angeles Mayoral Election: Implications
for Deracialization and Biracial Coalition Theories.” Politics and Policy (formerly
known as the Southeastern Political Review) 29, 1 (2002): 692-707.]

Sharon D. Wright Austin and Richard T. Middleton IV. Sustainability in the Twin
Cities of Biloxi-Gulfport, Mississippi. In Governing Middle-Sized Cities: Studies in
Mayoral Leadership, eds. Wilbur C. Rich and James Bowers (Boulder, CO: Lynne
Rienner Publishers, 2000).

Sharon D. Wright and Minion K.C. Morrison. The African American Political
Experience. In The Historical and Bibliographical Guide to the African American
Experience, eds. Arvarh Strickland and Robert E. Weems Jr. (Westport, CT:
Greenwood Press, 2000).

Sharon D. Wright. Clinton and Racial Politics. In The Postmodern Presidency: Bill
Clinton’s Legacy in U.S. Politics, ed. Steven Schier (Pittsburgh, PA: University of
Pittsburgh Press, 1999).




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Sharon D. Wright. The Activism of Black Women in Congress, 1967-1997. In
African American Women’s Activism Since the Civil Rights Movement, ed. Kimberly
Springer. (New York: New York University Press, 1999).

Sharon D. Wright. The Deracialization Strategy and African American Candidates
in Memphis Mayoral Elections. In Race, Politics and Governance in the United
States, ed. Huey L. Perry (Gainesville, FL: University of Florida Press, 1997).

Forthcoming Publications:

Tatiana Benjamin and Sharon D. Wright Austin. The Black Social Economy: Black
American Women Using Susu and Cooperatives as Resistance. In Black People and
Social Finance: Money Pools Counteract Racial Capitalism in the West, edited by
Caroline Shenaz Hossein. Chapter is complete. Book is under contract with
Routledge Press.

Sharon D. Wright Austin. Andrew Gillum’s Quest to Become Florida’s First Black
Governor. In Historic Firsts in U.S. Elections: Gubernatorial, Congressional, and
Mayoral Campaigns, 2018-2019, edited by Evelyn M. Simien. Chapter is complete.
Book is under contract with Routledge Press.

Research in Progress:

Sharon D. Wright Austin, Caroline Shenaz Hossein, Tatiana Benjamin, Silvane
Silva, Sherice J. Nelson. African Diaspora Economics: How Black Feminist
Political Women Advance Communities Through Cooperative Economics. Book is
under contract with Cambridge University Press.
Angela Lewis-Maddox, Sherice J. Nelson, LaRaven Temoney, and Sharon D.
Wright Austin. “Black Lives Matter: How Black Women Lead the Movement for
Global Transformational Change.” Paper under review for inclusion in a special
issue of the Social Science Quarterly (Freedom Dreaming: A Symposium on Racial
Justice, Unrest, and Abolition). Guest Edited by: Drs. Jenn M. Jackson (Syracuse),
Traci Burch (Northwestern), and Periloux Peay (Georgia State University).
Submitted in October 2020.




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Research Report:

Sharon D. Wright. Casino Gaming in the Delta: Race, Politics, and Gaming in
Tunica County, Mississippi. In The Trotter Review of the University of
Massachusetts, Boston 38 (Summer 2000).

Encyclopedia Entries:

Sharon D. Wright Austin. Constance Baker-Motley. In An Encyclopedia of
American Civil Rights and Liberties, eds. Otis H. Stephens Jr., John M. Scheb II,
and Kara E. Stooksbury (Westport, CT: Greenwood Press, 2006).

 Sharon D. Wright Austin. Rosa Parks. In An Encyclopedia of American Civil Rights
and Liberties, eds. Otis H. Stephens Jr., John M. Scheb II, and Kara E. Stooksbury
(Westport, CT: Greenwood Press, 2006).

Book Reviews:

Sharon D. Wright Austin. The Black Banker Ladies: Mutual Aid and Rotating
Savings and Credit Associations of Racialized Women. Caroline Shenaz Hossein
(Manuscript reviewed for University of Toronto Press in November 2019).

Sharon D. Wright Austin. Latino Politics in America: Community, Culture and
Interests. John A. Garcia (Manuscript reviewed for Rowman and Littlefield in
November 2019).

Sharon D. Wright Austin. Redefining the Political: Poor Black Women in Chicago
and New Understandings of Political Identity and Action. Alexandra Moffett-Bateau
(Manuscript reviewed for Temple University Press in October 2019).

Sharon D. Wright Austin. Much Sound and Fury, or the New Jim Crow? The
Twenty-First Century’s Restrictive New Voting Laws and their Impact in the States.
Edited by Michael A. Smith (Manuscript reviewed for State University of New York
at Albany Press in September 2019).

Sharon D. Wright Austin. Losing Power: African Americans and Racial
Polarization in Tennessee Politics, 2000-2012. Sekou M. Franklin and Ray Block
Jr. (Manuscript reviewer for the University of Georgia Press in August 2017).

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Sharon D. Wright Austin. American Politics and the African American Quest for
Universal Freedom. Eighth Edition. Hanes Walton Jr., Robert Smith, and Sherri
Wallace (Manuscript reviewed for Routledge Press in June 2015).

Sharon D. Wright Austin. African American Politics. Andra Gillespie and Shayla
Nunnally. (Manuscript reviewed for Routledge Press in December 2012).

Sharon D. Wright Austin. Contemporary Southern Politics. Seth McKee.
(Manuscript reviewed for Routledge Press in August 2012).

Sharon D. Wright Austin. Ciencia Politica: The Scientific Analysis of Latino Politics
in the United States. Edited by Tony Affigne, Evelyn Hu-DeHart, and Marion Orr.
(Manuscript reviewed for Routledge Press in March 2011).

Sharon D. Wright Austin. To the Right and Misunderstood: Conservatism in the
Black Community. Angela K. Lewis. (Manuscript reviewer for SUNY Albany Press
in 2009).

Sharon D. Wright Austin. Whose Black Politics? Case Studies in Post-Racial Black
Leadership. Edited by Professor Andra Gillespie. (Manuscript reviewed for
Routledge Press in January 2009).

Sharon D. Wright Austin. African American Politics in the 21st Century. Andra
Gillespie, Editor. (Manuscript reviewed for the Congressional Quarterly Press and
Routledge Press in 2007).

Sharon D. Wright Austin. Where Have You Gone, Horatio Alger? A Convergence
of Race and Poverty in the Memphis City Schools. Marcus Pohlmann (Manuscript
reviewed for the University of Tennessee Press in 2007).

Sharon D. Wright Austin. Freedom Is a Constant Struggle: The Mississippi Civil
Rights Movement and Its Legacy by Kenneth T Andrews (Chicago: University of
Chicago Press, 2004) for the Journal of Southern History.

Sharon D. Wright Austin. Black Feminist Voices in Politics by Evelyn Simien for
the State University of New York Press, 2004.




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Sharon D. Wright Austin. The Politics of the New South: Representation of African
Americans in Southern State Legislatures by Charles E. Menifield and Stephen D.
Shaffer (eds.) for the State University of New York Press, July 2003.

Sharon D. Wright. The Encyclopedia of Memphis by Timothy Huebner and Michael
Nelson (eds.) for the University of Tennessee, Knoxville Press, October 2002.

Sharon D. Wright. Red Lines, Black Spaces: The Politics of Race and Space in a
Black Middle-Class Suburb by Bruce D. Haynes (New Haven, CT: Yale University
Press, 2001) for the Journal of Politics.

Sharon D. Wright. Comparison Review of Enforcing Civil Rights: Race
Discrimination and the Department of Justice by Brian K. Landsberg (Lawrence,
KS: University Press of Kansas, 1997); Reaching Beyond Race by Paul M.
Sniderman and Edward G. Carmines (Cambridge, MA: Harvard University Press,
1997), and Racism in the post-Civil Rights Era: Now You See It, Now You Don’t
(Albany, NY: State University of New York Press, 1995) for the Policy Studies
Journal.

Sharon D. Wright. Racial Politics at the Crossroads: Memphis Elects Dr. W.W.
Herenton by Marcus Pohlmann and Michael Kirby (Knoxville, TN: University of
Tennessee Press, 1996) for the National Political Science Review: The Journal of
the National Conference of Black Political Scientists.

Sharon D. Wright. Government in America, Brief Version, Third Edition by
Edwards, Wattenberg, and Lineberry (New York: Longman , 1995) for Longman
Publishing.

Sharon D. Wright. African Americans at the Crossroads: The Restructuring of Black
Leadership and the 1992 Elections by Clarence Lusane (Boston, MA: South End
Press, 1995) for the Social Science Quarterly.

Sharon D. Wright. Abortion and American Politics by Barbara H. Craig and David
M. O’Brien (Chatham, NJ: Chatham House, 1994) for the National Political Science
Review: The Journal of the National Conference of Black Political Scientists.

Sharon D. Wright. Studying Politics by Roderick Church, Terrence Carroll, and
Nicolar Baxter-Moore (New York: Longman, 1994) for Longman Press.

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Sharon D. Wright. Comparison Review of the Year of the Woman: Myths and
Realities by Thomas Cook (Greenwood, CT: Westview Press, 1994); Women,
Elections and Representation. Second Edition by Darcy, Welch, and Clark for the
Southeastern Political Review.

Sharon D. Wright. Empirical Political Analysis: Research Methods in Political
Science. Third Edition by Jarol B. Mannheim and Richard C. Rich (New York:
Longman, 1993).

Conference Presentations:

Presenter
The Legacy of Plessy v. Ferguson at Predominantly White Institutions: The Politics
of Defining “Black” Students for Admissions Purposes
Russell Sage Journal Conference: The Legacy of Separate But Equal: Policy
Implications for the 21st Century, New York, New York, September 27, 2019.

Chair and Presenter
The Campaigns, Elections, and Governance of Black Female Mayors
American Political Science Association, Washington, D.C., August 28-September
1, 2019.

Presenter
Afro-Cuban Group Consciousness and Political Participation in Miami-Dade
County
National Conference of Black Political Scientists, Baton Rouge, Louisiana, March
14-17, 2019.

Discussant
Black Women as Elected Officials Panel
National Conference of Black Political Scientists, Baton Rouge, Louisiana, March
14-17, 2019.

Panelist on Roundtable Panel
The Politics of Faculty Diversity and Tenure Panel
National Conference of Black Political Scientists, Chicago, Illinois, March 14-17,
2018.



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Chair and Discussant
Pan African Thought and Method Panel
National Conference of Black Political Scientists, Chicago, Illinois, March 14-17,
2018.

Panelist on Roundtable Panel
National Political Science Review: A Standard-Driven Academic Refereed Journal
of Black Politics
National Conference of Black Political Scientists, Jackson, Mississippi, March 14-
17, 2016

Chair and Discussant
Descriptive Representation Without Substance: Black Inclusion in the Era of Racial
Animus
National Conference of Black Political Scientists, Jackson, Mississippi, March 14-
17, 2016

Chair and Discussant
Schools, Cities, and Cradle-to-Prison Pipeline
National Conference of Black Political Scientists, Jackson, Mississippi, March 14-
17, 2016

Chair and Discussant
African American Archival Research
Associate for the Study of Afro American Life and History, Jacksonville, Florida,
October 2-4, 2013.

Chair and Discussant
African American Political and Policy Issues
Associate for the Study of Afro American Life and History, Jacksonville, Florida,
October 2-4, 2013.

Discussant
Urban Political Empowerment
Southern Political Science Association, Orlando, Florida, January 3-5, 2013.

Chair and Discussant
African and African American Policy Issues
National Council for Black Studies, Atlanta, Georgia, March 8, 2012.
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Chair and Discussant
African and African American Political Leadership
National Council for Black Studies, Atlanta, Georgia, March 9, 2012.

Chair and Discussant
The Politics of African American Educational and Identity Issues
National Council for Black Studies, Atlanta, Georgia, March 9, 2012.

Presenter:
Church Attendance, Social Capital, and Black Voting Participation
Midwest Political Science Association, Chicago, Illinois, April 1-3, 2008.

Presenter:
Black Group Consciousness in South Florida
Western Political Science Association, San Diego, California, March 18-21, 2008.

Chair and Discussant:
Latino Politics Panel
Southern Political Science Association, New Orleans, Louisiana, January 4-6, 2007

Discussant:
The New Politics of Multiracial Cities Panel
American Political Science Association, Philadelphia, Pennsylvania, August, 31-
September 3, 2006

Discussant:
Emerging Issues in African American Opinion Panel
American Political Science Association, August 28-September 1, 2005,
Washington, D.C.

Chair and Discussant:
The Political Research of Dr. Ronald McNair Scholars
Panel participants included four University of Florida students: Gloria Bowens,
James Holloway III, Natassia Kelly, and Funmi Olorunnipa.
National Conference of Black Political Scientists, Oakland, California, March 8-12,
2003



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Chair:
Getting Through the Tenure and Promotion Process
National Conference of Black Political Scientists, Oakland, California, March 8-12,
2003

Presenter:
“Coping with the Graduate School Experience”
Western Political Science Association, Long Beach, California, March 23, 2002

Presenter:
“The 2000 Los Angeles Mayoral Election: An Analysis of the Racial Threat
Hypothesis and Black-Latino Electoral Coalitions”
Western Political Science Association, Long Beach, California, March 23, 2002

Chair and Discussant:
The Role of Race in Southern Elections and Public Policies
National Conference of Black Political Scientists, Atlanta, Georgia, March, 8, 2002

Section Chair:
State and Local Politics Section
National Conference of Black Political Scientists, Atlanta, Georgia, March, 6-1-,
2002; March 8-12, 2003

Presenter:
“Coping with the Graduate School Experience”
Western Political Science Association, Las Vegas, Nevada, March 22, 2001

Chair:
Racial Contexts and Representations in the Political Space
Students of Color of Rackham Conference, University of Michigan, Ann Arbor,
February 17, 2001

Presenter:
“Women of Color in Academia”
Students of Color of Rackham Conference, University of Michigan, Ann Arbor,
February 16, 2001

Chair:
Political Empowerment and Racial Minorities: Where We Are at Century’s End
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American Political Science Association, Washington, D.C., August 31-September
3, 2000

Discussant:
Representation, Redistricting, and Race in Electoral Politics
American Political Science Association, Boston, Massachusetts, September 3-6,
1998

Chair:
Issues Related to Teaching
American Association of Behavioral and Social Sciences, Las Vegas, Nevada,
January 13-15, 1998

Presenter:
“Developing Black Studies Programs in Order to Enhance Diversity”
American Association of Behavioral and Social Sciences, Las Vegas, Nevada,
January 13-15, 1998

Presenter:
“America’s Ethiopia: The Politics of Casino Gambling in Tunica County,
Mississippi”
Urban Affairs Association, Toronto, Canada, April 19, 1997

Presenter:
“The Elections of the Nineties: An Analysis of a New Generation of Black Mayors”
American Political Science Association, San Francisco, California, August 30-
September 2, 1996

Chair and Discussant:
Black State Legislative Politics
National Conference of Black Political Scientists, Savannah, Georgia, March 6-10,
1996

Presenter and Chair:
Challenges to Governance: The Freeman Bosley Administration of St. Louis
Southern Political Science Association, Tampa, Florida, November 1995




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Presenter:
“A Case Study in Black Activism: The Freeman Bosley Mayoral Election in St.
Louis”
Missouri Political Science Association, Columbia, Missouri, October 1995

Presenter:
“A Case Study in Intra-racial Divisions: The 1994 Shelby County Mayoral Election”
National Conference of Black Political Scientists, Baltimore, Maryland, March 1995

Presenter:
“The Political Economy of Racism Revisited: The Relationship between the Black
Political Establishment and the White economic Community in Memphis,
Tennessee”
American Political Science Association, New York, New York, September 1994

Discussant:
Blacks as the Old Minorities or Role Model?
Annual Conference on Minority Relations, Wellesley College, April 1994

Presenter:
“The Effect of Majority Vote Requirements on Black Candidate Success in At-Large
Memphis Elections”
National Conference of Black Political Scientists, Hampton, Virginia, March 9, 1994

Presenter:
“Organization or Machine: The Power of Ford Endorsements in Memphis Mayoral
Elections”
Southern Political Science Association, Savannah, Georgia, November 1993

Presenter:
“Independent Black Political Leadership: The Presidential Campaigns of Dr. Lenora
B. Fulani”
Southern Political Science Association, Savannah, Georgia, November 1993

Presenter:
“Racial Gerrymandering in Louisville: The Effect of Legislative Reapportionment
on African American Legislative Representation”
Women’s Studies Conference, Bowling Green, Kentucky, September 1993.

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Presenter:
“Deracialization and Biracial Coalition: Possible Election Strategy for African
American Candidates in Louisville, Kentucky”
American Political Science Association, Washington, D.C., September 1993

Presenter:
“We Can’t Hackett Anymore: The Failure of the Deracialization Strategy in
Memphis Mayoral Campaigns”
Southwestern Political Science Association, New Orleans, Louisiana, March 1993

Presenter:
“Racial Voting Patterns in Memphis Mayoral Elections: An Analysis of the 1991
Election of Dr. Willie W. Herenton”
Southern Political Science Association, Atlanta, Georgia, November 1992

Presenter:
“The Application of the Voting Rights Act of 1965 to State Judicial Elections:
Implications for Judicial Selection Systems”
Southwestern Political Science Association, Austin, Texas, March 1992


Service for the Political Science Department, University of Florida:

Member of the Political Science Lecturer Committee, 2019

Chairman of the Latino Politics Search Committee, 2015

Member of the Strategic Planning Committee, 2010-2011

Chairman of Curriculum Committee, 2009-2011

Chairman of the Department’s Speakers Series, 2007-2008

Chairman of the James W. Button/Barbara Roth Memorial Award Committee, 2006-
Present

Chairman of the Best Undergraduate Paper Committee, 2009-2010



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Master’s and Doctoral Committee Member for Several Graduate Students Since
2003 and Chair of Committee for Several Students

Member of Chair Advisory Committee, 2004-2005, 2005-2006

Supervised Independent Research Projects for Several Students Since 2003.

Supervised the selection of the recipients of the Multicultural Scholar Award from
the department of political science each year since March 2006.

Undergraduate Coordinator during the 2008-2009 and 2009-2010 academic years.


Service for the Profession:

Author:     “The Mayoral Elections of the Nineties: An Analysis of a New
            Generation of Black Mayors.” Urban News Newsletter of the Urban
            Politics Section of the American Political Science Association. 11,3
            (Autumn 1997): 1-2, 4.

Member:     American Political Science Association, 1992-Present
                 Member of the 2020-24 Editorial Team, June 2020-May 2024
                 Council Member of the Urban Politics Section, 2005-2008
                 Member of the Race and Ethnicity Section, 2000-Present
                 Chair of the Byran Jackson Dissertation Support Committee,
                 2005-2006
                 Chair of the Best Book in Urban Politics Committee, 2006-2007

            CLAS Teacher of the Year Award Selection Committee, 2017-18
            Academic Year

            Editorial Board of the Ralph Bunche Journal of Public Affairs, 2013-
            Present

            National Conference of Black Political Scientists, 1992-Present
                  Member of the Anna Julia Cooper Teaching Award Committee,
                  2005-2009



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            UF Provost’s Student Retention and Success Task Force, May 2017-
            2018

            Southern Political Science Association, 2000-Present
                  Member of the Executive Council, 2005-2008

Reviewer: National Review of Black Politics, 2020-Present
          Journal of Black Studies, 1996-Present
          Journal of Women, Politics, and Policy, 2006-Present
          National Political Science Review, 2005-2006
          Political Research Quarterly, 2005-Present
          State and Local Government Review, 2005-Present
          Social Science Quarterly, 2005-Present
          Transforming Anthropology, 2011
          Western Journal of Black Studies, 1996-2000


Service for the African American Studies Program:

Speaker:
The Integration of the University of Florida
February 22, 2017, Naval Air Station, Jacksonville, Florida Multicultural Awareness
Day.

Member:
Reitz Union Storytelling Committee, Spring 2017.

Organizer:
Black Women in the Academy Symposium which included lectures by Dr. Pearl
Ford Dowe of the University of Arkansas, Fayetteville and Dr. Beverly Guy Sheftall
of Spelman College, February 2017.

Chair and Member:
College of Liberal Arts and Sciences Diversity Steering Committee March 2016-
Present.




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Organizer:
Symposium on the Presidency of Barack Hussein Obama which included lectures
by Dr. Michael Jeffries of Wellesley College and Dr. Fredrick Harris of Columbia
University, February 2016.

Organizer and Moderator:
Dr. Ronald Foreman Lecture by Dr. Fredrick Harris of Columbia University,
February 2016.

Organizer and Moderator:
Dr. Ronald Foreman Lecture by Dr. Paula McClain of Duke University, February
2015.

Organizer and Moderator:
Dr. Ronald Foreman Lecture by Dr. Abdul Alkalimat of the University of Illinois,
University of Florida, February 2014.

Campus Event Panelist:
Panelist on Trouble the Water documentary panel, January 15, 2014.

Organizer and Moderator:
Lecture by Dr. David J. Garrow of the University of Pittsburgh, January 2014.

Campus Event Moderator:
Passing the Torch Career and Information Session, University of Florida, October
2013.

Campus Event Speaker:
"Graduate and Law School Opportunities"
James E. Scott Leadership Conference, University of Florida, February 2013.

Organizer and Moderator:
Dr. Ronald Foreman Lecture by Dr. Marc Lamont Hill of Columbia University,
University of Florida, February 2013.

Campus Event Speaker and Moderator:
"Integration Efforts at the University of Florida from 1958-One Florida"
The Integration of the University of Florida and the Challenges that Remain Panel,
University of Florida, January 2013.
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Campus Event Speaker:
“Abraham Lincoln and Obama”
Grand Opening Event for Lincoln and the Constitution Exhibit, University of
Florida, February 2012

Campus Event Speaker:
"The Activism of Mrs. Fannie Lou Hamer of the Mississippi Freedom Democratic
Party"
Women in the Civil Rights Movement Panel, University of Florida, January 2012

Campus Event Speaker:
“How to Gain Acceptance to and Succeed in Graduate School”
Campus Visitation Program, Office of Graduate Minority Programs, November
2011

Campus Event Speaker:
“Are Asian Americans a Model Minority?”
Lunch Series for the Asian American Student Union, University of Florida,
November 2010.

Campus Event Speaker:
“Graduate and Law School Forum”
Panel Discussion Sponsored by the Black Political Science Association. University
of Florida, October 2009.

Campus Event Moderator:
“A Mock Debate Between Presidential Candidates Barack Obama and John
McCain”
Event Sponsored by the Black Political Science Association. University of Florida,
October 2008.

Campus Event Speaker:
“Latino and Latin American Politics”
Panel Discussion Sponsored by the Latin American Studies Collection in Smathers
Library, November 2008.

Campus Event Speaker and Moderator:
“Should Asian Americans Support Affirmative Action?”
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Southeastern Conference on Asian American Leadership, University of Florida
October 2005

Campus Event Speaker and Moderator:
“Contemporary Issues in Asian American Politics”
Southeastern Conference on Asian American Leadership, University of Florida
October 2004

Campus Event Speaker and Moderator:
“African and African American Race Relations at the University of Florida”
Black Political Science Association and Association of African Studies Forum, April
2003


Committee Member:

Atlantic Coast Social, Behavioral, and Economic Sciences (ACSBE) Alliance
Committee to recruit minority graduate students and provide them with additional
travel and research funding, 2005-2019

CLAS Humanities Scholarship Enhancement Grant Selection Committee, Fall 2006

Faculty Affiliate for the African American Studies Program, 2008-2011.

Faculty Affiliate for the Women’s Studies Program, 2007-2017.

Member of the 2010 and 2011 Dr. Martin Luther King Jr. Program Committee

Member of the Search Committee for the Assistant Director of Multicultural Affairs,
March 2011.

Member of the Search Committee for the Director of the U.S. Senator Bob Graham
Center, 2006-2007.

The Graham Center Advisory Committee (Develops curriculum for the Center with
other committee members).

University-wide Teacher and Adviser of the Year Selection Committee, 2006.

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Faculty Mentor for approximately 50 students since 2001:
(Supervised their research projects and served as their mentor in Gatorlaunch,
Minority Mentoring, and McNair Scholars Programs).

Organizational Advisor for:
The Black Political Science Association, 2001-200Present
Nu Alpha Lambda Christian Service Organization, 2005-Present

Recruiter:
Ralph Bunche Summer Institute, Duke University, June 2004, June 2006


Service for the University of Missouri:

Author:
“Barbara Jordan: A Champion of Civil and Human Rights”
The African Americanist Newsletter
Winter 1996, volume six, number five

Author:
“Black Students and Professors: The Need for Communication and Understanding”
The Legion of Black Collegians Newsletter
February 26, 1997, volume 1

Author:
“Gender and Race in 1996 Presidential Campaign Strategies”
The MU School of Journalism Web Page, October 1996

Author:
“The 25th Annual Congressional Black Caucus Legislative Conference”
The Voice of Black Studies Newsletter
Spring 1996, volume 20, number one

Author:
“The 6th Annual Africana Studies Summer Institute”
The Voice of Black Studies Newsletter
Spring 1996, volume 20, number one



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Author:
“The Mayoral Elections of the Nineties: An Analysis of a New Generation of Black
Mayors”
Urban News: The Newsletter of the Urban Politics Section of the American Political
Science Association
Volume II, Number 3
Fall 1997

Commentator:
KOMU-TV 8 News-Columbia, Missouri
“Saturday Caucus: The Issue of Gender in the 1996 Presidential Election”
April 21, 1996

Commentator:
“Sexual Harassment in the Workforce”
KOMU-TV 8 News
Columbia, Missouri
February 16, 1999

Commentator:
“Black Women in the Civil Rights Movement: 1950-1980”
KOMU-TV 8 News
Columbia, Missouri
October 24, 1997

MU Committees: Black History Month Committee, 1996-1997
               Honors and Awards Committee-Department of Political Science
               McNair Scholars Program Committee, 1996-1997
               Women’s Studies Executive Committee, 1996-1997

Editorial Advisory
Board Member for:        The Western Journal of Black Studies (winner of the 1996
                         National Council for Black Studies CLR James Award for
                         Outstanding Publication)

                         A Turbulent Voyage: Readings in African American
                         Studies. San Diego: Collegiate Press


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Moderator:
City of Columbia Race Relations Task Force Symposium
Panelists included Attorney Gary Oxenhandler, Attorney Al Plummer, Mayor
Darwin Hindman, Professor Robert Bailey of the MU School of Law, Professor
Angela Bartee of Stephens College, and Ms. Monica Naylor of the Columbia Public
Schools.
November 7, 1996




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Reader:
Government and Politics Advanced Placement Exams
Sponsored by the Educational testing Service
University of Nebraska, Lincoln, June 10-17, 2000; June 11-18, 2001, June 12-19,
2002
Colorado State University, June 13-20, 2003

Regional Member of the Board of Directors:
National Council for Black Studies
One of the representatives of NCBS at the Congressional Black Caucus Legislative
Conference, Washington, D.C., September 1995

Speaker:
“African American Politics Today: The 1996 Presidential Election”
1996 Black History Month Brown Bag Lunch Series
The University of Missouri, Columbia
February 26, 1996

Speaker:
“How to Handle Joint Appointment Responsibilities”
Association of Black Graduate and Professional Students
Graduate Professional Development Workshop
The University of Missouri, Columbia
October 18, 1997

Speaker:
“The Activism of Black Women in Congress Since the Civil Rights Movement”
1997 Black women in the Civil Rights Movement Conference
The University of Missouri, Columbia
October 24, 1997

Moderator:
“The Black Experience at MU”
Sponsored by the Black Faculty and Staff Organization
The University of Missouri, Columbia
February 11, 1998

Speaker:
“How to Handle Joint Appointment Responsibilities”
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Association of Black Graduate and Professional Students
Graduate Professional Development Workshop
The University of Missouri, Columbia
October 24, 1998

Speaker:
“Black Issues in Higher Education”
Sponsored by the Black Culture Center
The University of Missouri, Columbia
January 25, 1999


Service for the University of Louisville:

Author:
“Voting Patterns of the 1991 Mayoral Election: Herenton’s Victory Maximized
Racial Voting Factors that Had Eluded Previous Candidates”
Article published in the Memphis Commercial Appeal newspaper
November 15, 1992

Commentator:
“The O.J. Simpson Trial: Will Race Be a Factor?
WAVE 3 News
Louisville, Kentucky
January 28, 1994

Discussion Leader:
Film: A Place of Rage: Black Women and the Civil Rights Movement
Women’s History Month
The University of Louisville
March 3, 1994

Guest Speaker:
Symposium: The Evolving Roles of Men and Women
Topic of Speech: “Men, Women, and the Dilemmas of the Youth”
The University of Louisville
October 11, 1994



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Guest Speaker:
Symposium: Racism: America’s Most Challenging Issue
Topic of Speech: “The Dual Oppression: Racism, Sexism, and the Black Woman”
The University of Louisville
October 27, 1993

Keynote Speaker:
Awards and Recognition Banquet: Keep Growing in Girl Scouts
Topic of Speech: “Yes I can”
Kentuckiana Girl Scouts
May 13, 1994

Lecturer:
Multicultural “Coffee” Symposium
“A Comprehensive History of African American Politics in Louisville, Kentucky”
The University of Louisville
November 11, 1993

Panel Organizer and Participant:
Symposium: The Political Activities of Louisville Women
Women’s History Month
The University of Louisville
March 7, 1994

Panel Organizer and Moderator:
Multicultural “Coffee” Symposium: An African American Congressional Debate
The University of Louisville
April 5, 1994




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                              Exhibit B - References

American Civil Liberties Union. 2001. “ACLU of Florida Launches Equal Voting

      Rights Project to Address Irregularities, Reform Election Practices in

      Florida.” February 17. https://www.aclu.org/press-releases/aclu-florida-

      launches-equal-voting-rights-project-address-irregularities-reform. Accessed

      on August 5, 2021.

American Civil Liberties Union. 2020. “Let Florida Vote: Coronavirus is only the

      newest barrier to voting in Florida.”

      https://www.aclufl.org/en/publications/let-florida-vote-coronavirus-only-

      newest-barrier-voting-florida. Accessed August 26, 2021.

Austin, Sharon D. Wright. 2018. The Caribbeanization of Black Politics: Race,

      Group Consciousness, and Political Participation in America. Albany: State

      University of New York Press.

Bennett, George. 2013. “Experts Tell Panel: Floridians Waited Three Times

      Longer to Vote than National Average.” Palm Beach Post. June 28.

      https://www.palmbeachpost.com/news/state--regional-govt--politics/experts-

      tell-panel-floridians-waited-three-times-longer-vote-than-national-

      average/ECebodao46jYrbWZosuHdP/. Accessed August 5, 2021.



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Broward County Board of County Commissioners. 2011. “Broward County

      Unincorporated              County                Data.”            October.

      https://www.broward.org/Planning/Demographics/Documents/Census/Repor

      tUnincorpNeighborData.pdf. Accessed on August 3, 2021.


Brown Jr., Canter. 1998. Florida’s Black Public Officials, 1867-1924. Tuscaloosa:

      University of Alabama Press.


Budiman, Abby. 2020. “Key Facts About Black Eligible Voters in 2020

      Battleground     States.”    Pew       Research    Center.     October   21.

      https://www.pewresearch.org/fact-tank/2020/10/21/key-facts-about-Black-

      eligible-voters-in-2020-battleground-states/. Accessed on August 2, 2021.


Calvan, Bobby Caina. 2021. “DeSantis Signs GOP-drafted Voting Bill, Legal

      Fight Begins.” PBS News Hour. May 6.

      https://www.pbs.org/newshour/politics/desantis-signs-gop-drafted-voting-

      bill-legal-fight-begins. Accessed on July 26, 2021.


Cohen, Michael B. 2014. “Changes to Florida Voting Laws 5 – The Reversal:

      Governor Scott Signs New Bill to Extend Early Voting.” National League

      News.    https://www.southflalaw.com/changes-to-florida-voting-laws-5-the-

      reversal-governor-scott-sig.html. Accessed on July 18, 2021.


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Croucher, Sheila L. 2002. “Miami in the 1990s: ‘City of the Future; or ‘City on the

      Edge’?” Journal of International Migration and Integration 2, no. 3: 223-239.


DeRuy, Emily. 2012. “Advocacy Organization Registers 90,000 Latino Voters.

      Latinos Are Poised to Play a Major Role in Florida.” ABC News. October 8.

      https://abcnews.go.com/ABC_Univision/Politics/advocacy-organization-

      nclr-registers-90000-latino-voters/story?id=17510451. Accessed on August

      31, 2021.


Figueredo, Dalia. Affording The Franchise: Amendment 4 & The Senate Bill 7066

      Litigation, 72 FLA. L. REV. 1135, 1136 (2020).


Florida Department of State. “2020 General Election.”

      https://fldoswebumbracoprod.blob.core.windows.net/media/703948/gen-

      2020.pdf. Accessed on July 31, 2021.

Florida Department of State. The Constitution of the State of Florida. As Revised in

      1968. And Subsequently Amended in 2016.

      https://files.floridados.gov/media/693801/florida-constitution.pdf. Accessed

      on August 20, 2021.




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Florida   Senate.       2013.    “CS/      HB       7013     –     Florida   Election     Code.”

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Florida       Senate.      2011.        “CS/CS/            HB       1355        –   Elections.”

      https://www.flsenate.gov/Committees/BillSummaries/2011/html/1355EE.

      Accessed on July 22, 2021.


Florida       Senate.       2004.          CS/SB           2566:       Absentee         Ballots.”

      http://archive.flsenate.gov/session/index.cfm?Mode. Accessed on July 22,

      2021.


Florida          Senate.           2002.             “2002            Florida           Statutes.”

      https://www.flsenate.gov/laws/statutes/2002/101.62. Accessed on August 27,

      2021.


Gadsden County, Florida Government. 2021. “Black First in Florida ‘Celebrate

      Black                     History                    Gadsden                   County.’”

      https://www.gadsdencountyfl.gov/news_detail_T34_R172.php. Accessed on

      August 20, 2021.




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Grenier, Guillermo J. and Max Castro. 1999. “Triadic Politics: Ethnicity, Race, and

      Politics in Miami, 1959-1998.” The Pacific Historical Review 68, no. 2: 273-

      292.


Gwen S. Cherry Black Women Lawyer’s Association. 2021. “Gwen S. Cherry Esq.”

      https://gscbwla.org/Gwendolyn-Sawyer. Accessed on August 20, 2021.


Hastings, Maribel. 2012. “Voter Suppression: A Perfect Storm.” America’s Voice

      En Espanol June 6. https://americasvoice.org/blog/voter-suppression-a-

      perfect-storm/. Accessed on August 28, 2021.


Headcount. 2013. “The Governor that Made Voting Harder, Just Relented, Sort Of.”

      https://www.headcount.org/politics-and-elections/the-governor-that-made-

      voting-harder-just-relented-sort-of/. Accessed on July 27, 2021.


Herron, Michael C. and Daniel A. Smith. 2013. “The Effects of House Bill 1355 and

      Voter Registration in Florida.” State Politics and Policy Quarterly 13, no. 3

      (September): 279-305.


Herron, Michael C. and Daniel A. Smith. 2012. “Souls to the Polls: Early Voting in

      Florida in the Shadow of House Bill 1355.” Election Law Journal 11, no. 3:

      331-347.



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Isbell, Matthew. 2021a. “Florida Redistricting Preview #2: 1970s through 1980s.”

      MCI Maps. August 4. https://mcimaps.com/florida-redistricting-preview-2-

      1970s-through-1980s/. Accessed on August 21, 2021.


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